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                      EXHIBIT B
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 Filing # 36843503 E-Filed 01/21/201603:49:32 PM


        IN THE CIRCUIT COURT OF THE FIFTEENTH
        JUDICIAL CIRCUIT IN AND FOR PALM BEACH COUNTY,
        FLORIDA

        KK-PB FINANCIAL, LLC,

                             Plaintiff,

        vs.

        160 ROYAL PALM, LLC and
        PALM HOUSE HOTEL, LLLP,                            Case No.: 502014CA011203XXXXMB

                             Defendants.                   Division: AN
        ---------------------------,/
        160 ROYAL PALM, LLC.

                             Counter-Plai ntiff,

        vs.

        KK-PB FINANCIAL, LLC, and
        GLENN STRAUB,

                             Counter-Defendant.

        ------------------------~/
                                              NOTICE OF FILING

               Plaintiff, KK-PB FINANCIAL, LLC, by and through its undersigned counsel, pursuant

        to Rule 1.330, Florida Rules of Civil Procedure, hereby gives notice of filing a copy of:

               Transcript from the Deposition of Leslie Robert Evans held on October 19, 2015.

               Dated this 21 st day of January, 2016.

                                                           LAW OFFICE OF
                                                           ALEXANDER L. DOMS, P.A.
                                                           Attorneys for Plaintiff
                                                           11199 Polo Club Road, Suite 1
                                                           Wellington, Florida 33414
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                                                        Page 1




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                                                    Secondary:      Heather@ALDLAW.ORG


                                                    By:/sl Alexander L. Domb
                                                            ALEXANDER L. DOMB
                                                            Florida Bar No.: 558362




                                   CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that a true and correct copy ofthe foregoing has been furnished
     via eService to: Alan M. Burger, Esq., McDONALD HOPKINS LLC, 505 S. Flagler Drive,
     Suite    300,   West   Palm    Beach,   FL    33401,       aburger@mcdonaldhopkins.com,
     mrose@mcdonaldhopkins.com, wpbpleadings@mcdonaldhopkins.com; Henry B. Handler,
     Esq. and David K. Friedman, Esq., WEISS, HANDLER & CORNWELL, P.A., One Boca
     Place,     Suite   218-A,     2255   Glades        Road,    Boca   Raton,   FL   33431,
     hbh@weissandhandlerpa.com,jn@weissandhandlerpa.com, dkf@weissandhandlerpa.com,
     cb@weissandhandlerpa.com, filings@weissandhandlerpa.com; Gregg H. Glickstein, Esq.,
     GREGG H. GLICKSTEIN, P.A., 54 S.W. Boca Raton Boulevard, Boca Raton, FL 33432,
     ghgpa@bellsouth.net on this 21 st day of January, 2016.




                                                            lsI Alexander L. Domb
                                                            ALEXANDER L. DOMB




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      LESLIE ROBERT EVANS                                                                                                           October 19,2015
      KK PB FINANCIAL vs. 160 ROYAL PALM                                                                                                                    1-4
                                                                       Page 1                                                                         Page 3
       1          IN THE CIRCUIT COURT OF THE FIFTEENTH JUDICIAL CIRCUIT        1                                     I II D E X
                               IN AND FOR PALM BEACH COUNTY, FLORIDA
       2                         CASE NO.:   502014CA01l203XXXXMB
                                                                                3    WITNESS:                       DIRECT    CROSS   REDIRECT        RECROSS
       3
                                                                                4
            KK-PB FINANCIAL, LLC, a Limited
       4    Liability Company,                                                  5    LESLIE ROBERT EVANS
       5                                                                         6   BY MR. DOME                                         60
                  Plaintiff,
                                                                                7    BY MR. HANDLER                            56
                                                                                 8   BY MR. BURGER                             60
        7   VS.
                                                                                 9
            160 ROYAL PALM, LLC, a Limited Liability                            10                                 EXHIBITS
        9   Company and PALM HOUSE HOTEL, LLLP, a
                                                                                11
            Limited Liability Limited Partnership,
                                                                                12   NUMBER     DESCRIPTION                                           PAGE
       10
                  Defendants.                                                   13   PL 1       Subpoena for Deposition                                 9
      11    __________________________1                                         14   PL 2       Promissory Note with Balloon Payment                   15
      12                                                                        15   PL 3       Mortgage                                               15
       13                        DEPOSITION OF LESLIE ROBERT EVANS
                                                                                16   PL 4       Closing Statement                                      15
       14                                OCTOBER 19, 2015
      15                               1:30 P.M. - 3:15 P.M.                    17    PL 5      Escrow Agreement                                       15
       16                                                                       18    PL 6      Specific Power of Attorney                             15
       17                         214 BRAZILIAN AVENUE, SUITE 320               19    PL 7      Account Quick Report                                   25
      18                                PALM BEACH, FLORIDA
                                                                                20   PL 8       "As lsI! Agreement for Purchase and Sale               34
       19
       20                                                                       21    PL 9      Assignment Interest in 160 Royal Palm LLC              46

       21                                                                       22    PL 10     Wire Transfer                                          52
       22                                                                       23
       23   Reported by Louanne Rawls
                                                                                24
       24   Notary Public, State of Florida
       25   Esquire Deposition Solutions tJ0223460                              25


                                                                       Page 2                                                                          Page 4
        1   APPEARANCES:                                                         1                    PROCEEDINGS
        2    On behalf of the Plaintiff                                          2
                   ALEXANDER L. DOMB, ESQUIRE                                    3      DepOSition taken before LOUANNE RAWLS, Digital Reporter and
        3          Alexander L. Dornb, P.A.                                     4    Notary Public in and for the State of Florida at Large, in the
        4          11199 Polo Club Road                                          5 above cause.
        5          Suite 1                                                       6
        6          Wellington, FL 33414
                                                                                 7 Thereupon,
        7
                                                                                 8                    LESLIE ROBERT EVANS
        8
                                                                                 9   Having been first duly sworn or affirmed, was examined and
        9    On behalf of the Defendant, 160 Royal Palm, LLC
                                                                                10 testified as follows:
       10          ALAN M. BURGER, ESQUIRE
                                                                                11              THE WITNESS: I do.
       11          McDonald Hopkins, LLC
                                                                                12                     DIRECT EXAMINATION
       12          505 S. Flagler Street
                                                                                13 BY MR. DOMB:
       13          Suite 300
                                                                                14      Q.    Could you please state your name for the record?
       14          West Palm Beach, FL 33401
                                                                                15      A. Leslie Robert Evans.
       15
                                                                                16      Q.    And, Mr. Evans, have you ever had your deposition taken
       16    On behalf of the Defendant, Palm House Hotel, LLP
                                                                                17 before?
       17          HENRY B. HANDLER, ESQUIRE
       18          Weiss, Handler & Cornwell, P.A.                              18      A. Yes.
       19          One Boca Place, Suite 218-A                                  19      Q.    Okay. So I'm going to dispense with the usual customary
       20          2255 Glades Road                                             20   description of what to do other than if you don't understand
       21          Boca Raton, FL 33431                                         21   anything please stop me -
       22                                                                       22      A.    Okay.
       23                                                                       23      Q... and we'll try and make sure that you do.
       24                                                                       24      A. Thanks.
       25                                                                       25      Q.    What's your occupation?



                                                                                                                             BOO.211.DEPO (3376)
                                                                                                                             EsquireSolutions.com
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      LESLIE ROBERT EVANS                                                                                                 October 19, 2015
      KK PB FINANCIAL VS. 160 ROYAL PALM                                                                                                        5-8
                                                                      Page 5                                                                  Page 7
       1      A.     Attorney.                                                 1     Q. Did you review any of the exhibits to any of those
       2      Q. And what states are you licensed to practice law?             2 depositions?
       3      A. Right now just Florida. I think I'm inactive in Ohio.         3     A.    I wouldn't know what those were because I didn't see
       4      Q. And how long have you been licensed to practice law in        4 the depos.
       5    the state of Florida?                                              5     Q. Other than Mr. Burger, who else did you meet with in
       6       A.    Since '83, 1983. So it's 32 years.                        6 preparation for the depo?
       7       Q. And you said you were licensed to practice law               7     A. Just Mr. Burger.
       8    somewhere else?                                                    8     Q. What exactly did you do in order to gather the
       9       A. In Ohio.                                                     9 depositions requested here today?
      10       Q. And how long were you licensed to practice law there?        10          MR. BURGER: Rephrase your question. You said in order
      11       A.    About 10 years.                                           11     to gather the depositions; you meant documents.
      12       Q. And did you give up your license in Ohio?                    12          MR. DOMB: Documents.
      13       A.    I believe so. I don't even remember.                      13          MR. BURGER: Do it again.
      14       Q. Are you employed?                                            14 BYMR. DOMB:
      15       A.    Yes.                                                      15     Q. What, if anything, did you do to gather all of the
      16       Q.     By whom are you employed?                                16 documents requested in the subpoena for today's deposition?
      17       A.    By myself.                                                17     A.   I looked through my doc - my records and looked at the
      18       Q. And the name of the firm?                                    18 subpoena and got the relevant documents together.
      19       A.    Leslie Robert Evans & Associates.                         19     Q. And who assisted you in that endeavor?
      20       Q. And who are the shareholders of Leslie Robert Evans & 20            A.   Nobody.
      21    Associates?                                                        21     Q. Are your documents in paper or digital format?
      22       A.    Just me;                                                  22     A.   Paper.
      23       Q. Who are the attorneys presently employed by Leslie           23     Q. Who in your office maintains these records?
      24 Robert Evans, PA?                                                     24     A.    I do.
      25       A.    Oh, they are all of counsel except for my son.            25     Q. Do you practice in a particular area of law?

                                                                      Page 6                                                                  Page 8
       1       Q. Okay.                                                        1      A.    Real estate.
       2       A. Would you like to know the names?                            2      Q. How long have you practiced real estate law?
       3       Q. I just wanted to know the employees. So Jason is the         3      A.    Forty years.
       4    only employee?                                                     4           COURT REPORTER: I'm sorry, 40?
       5       A.    Jason is the only employee, yes.                          5           THE WITNESS: Forty.
       6       Q. Okay. And who are the other attorneys that are of             6          COURT REPORTER: Okay.
       7    counsel?                                                           7           THE WITNESS: I know I look much younger than that.
       8       A. There's Robert Kesten, K-E-S-T-E-N, there is David            8          MR. BURGER: You don't look a day older than 39.
       9    Brodt, B-R-O-D-T, there is Jason Dollard, D-O-L-L-A-R-D, there     9           MR. DOMB: Don't forget you're under oath.
       10 is Charles Ratner, R-A-T-N-E-R, Dan Hirschman, I think it's          10   BYMR. DOMB:
       11    H-I-R-S-C-H-M-A-N, Michael Brennan and, let's see. Who am I 11           Q. Do you have a separate corporate title insurance
       12 forgetting? Cherish Thompson.                                        12 agency?
       13       Q. I'll come back to that. For the purposes of preparing       13     A. No, it's part of the law firm.
       14 yourself for this deposition today what exactly have you done?       14     Q. So then Leslie Robert Evans & Associates, PA is
       15 What, if anything, have you done?                                    15   licensed title issuing agent?
       16       A.    I got the documents together that I had in response to   16     A.    Yes.
       17 your subpoena, sent them to you, and I met just briefly with Mr. 17         Q. How many title agents - how many title insurance
       18 Alan Burger who said you were going to be very nice to me.           18 underwriters do you have?
       19            MR. BURGER: So far you're doing a good job.               19     A.    Two.
       20            MR. DOMS: And - and --                                    20     Q. And who are they?
       21    BYMR. DOMB:                                                       21     A.    Old Republic and Fidelity.
       22       Q. Did you review your trust account records?                  22     Q. How many real estate trust accounts do you maintain?
       23       A. Yes.                                                        23     A. One.
       24       Q. Did you read any of the depositions in this case?           24     Q. And is that the account that you maintained at Iberia?
       25       A.    No.                                                      25   I'm sorry, in Northern Trust?


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      LESLIE ROBERT EVANS                                                                                                            October 19,2015
      KK PB FINANCIAL vs. 160 ROYAL PALM                                                                                                        9-12
                                                                             Page 9                                                                       Page 11
       1     A- Yes. But, no, not Northem Trust. It's--                               1      Q. Okay.
       2     Q. What bank is it?                                                      2      A.    Give me a minute. I'm going to close the door. Okay.
       3     A.    First United which turned into Valley National. We have            3      Q. Okay. So you have produced the Promissory Note with
       4 a new -- we're starting to switch now over to Landmark Bank but              4    Balloon Payment. That satisfies request number one; correct?
       5 during the relevant time that you're looking at it was First                 5      A.    That's correct.
       6 United which turned into Valley National Bank.                               6      Q. Okay. And is this, in fact, the promissory note that
       7     Q. Do you utilize a commercial real estate closing program               7    was executed at the closing of the transaction?
       8 in your practice?                                                            8      A- Yes, itis.
       9     A. Yes.                                                                  9            MR. BURGER: Objection. I object. Did you get my
      10      Q. Which program is that?                                               10      objection?
      11      A. We use - let me -- I just got a mental block about                   11           COURT REPORTER: Yes.
      12 which one it is. I can't tell you right now. It's just one of                12           MR. BURGER: I said objection.
       13 the packages which we didn't use in this anyway.                            13           COURT REPORTER: I heard.
       14     Q. That was my next question. Did you utilize your                      14           MR. BURGER: Because you asked if it was, in fact, the
       15 commercial real estate closing package for this transaction?                15      note but I think it's a copy of the note. That's the only
       16     A.       No, that's basically for residential.                          16      reason. I'm just trying to keep you honest.
       17     Q. Okay. I'd like to mark this as 1.                                    17 BYMR. DOMB:
       18     (THEREUPON, PLAINTIFF'S EXHIBIT NUMBER 1 WAS MARKED) 18                         Q. So let's rephrase the question and get it properly set
       19     Q. Okay. So I'm showing you what's been marked as exhibit               19 for the record. Is this a true and correct copy of the
      20 1 for identification and ask if you recognize it?                            20 promissory note that was executed at the closing on August 30th,
       21     A. Yes, I do.                                                           21   2013?
       22     Q. Is that, in fact, a copy of the subpoena that you were               22      A. Yes, it is.
       23 served on in this matter?                                                   23      Q. And can you tell me whose signature that is on the
       24     A. Yes.                                                                 24   signature block on page seven?
       25     Q. And do you have the documents that were requested in                 25      A.    That's my signature signing on behalf of Ryan Black

                                                                          Page 1U                                                                         Page 12
        1   exhibit A to the subpoena?                                                1 under a power of attorney.
        2     A.        Yes.                                                          2      Q. And you on August 30th, 2013, you had a power of
        3     Q.        May I take a look at those, please? And since your            3 attorney to sign documents for the closing?
        4 email of Friday aftemoon were you able to uncover any                       4      A. That's correct.
        5   additional documents?                                                     5      Q. And did you sign this document with that power of
        6     A.        No.                                                           6 attorney?
        7     Q.        Okay.                                                         7       A. That's correct.
        8     A.        Just off the record, these numbers go on the numbers          8       Q. And did you have authority at the time of the closing
        9 that you had here --                                                        9 to execute documents with that power of attorney?
       10         Q.     Okay. Great. Your email of Friday afternoon indicated        10      A. Yes.
       11   your number nine, that the documents relating to the inquiry of           11      Q. At the time that you executed the promissory note on
       12   number nine, were attached, however, they weren't attached to 12 behalf of Palm House, LLC did you consider it to be a valid and
       13   the email and I don't see them here today. Do you --                      13 binding document?
       14         A.    I can--                                                       14      A. Yes.
       15         Q. -- have copies of the bank statements for the bank               15      Q. You produced for item -- request number two Florida
       16   account that you utilized for this transaction?                           16 Real Estate Mortgage Assignment of Leases and Rents and Security
       17         A. Yes.                                                             17 Agreement. Is this the document that you produced?
       18         Q. Okay. Is there a particular reason why you haven't               18      A. That's a copy, but yes.
       19   produced them?                                                            19      Q. And this is a copy of the original Real Estate Mortgage
       20         A.     My bookkeeper wasn't here Friday. She's here now but I 20 that was executed at the closing on August 30th, 2013?
       21   would have to redact everything that wasn't -- she just came in. 21               A. Yes.
       22   Her mother has been sick.                                                 22      Q. And on the bottom of each page on the right hand corner
       23         Q. So then you will agree to produce the bank records or            23 did you place your initials?
       24   the bank statements?                                                      24      A. Yes, I'm paranoid.
       25         A.     Yes. Yes, I will.                                            25      Q. So that the pages could not be substituted; correct?


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      LESLIE ROBERT EVANS                                                                                                             October 19,2015
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                                                                   Page 13                                                                        Page 15
       1     A. That's correct.                                              1     was done.
       2     Q. Okay. And-                                                   2 BY MR. DOMB:
       3     A. To answer your next question, I signed it as --I             3     Q.    Okay. And just to reiterate what Mr. Burger is saying
       4 signed it as under a power of attorney on behalf of Ryan Black      4 here today, what I don't want you to do is I don't want you to
       5 who was the managing member.                                        5 violate any attorney/client privilege. I do not want you to tell
       6     Q. And at the time you signed it was that pursuant to a         6 me what your client told you. So whenever I ask these questions,
       7 specific power of attorney?                                         7 I'm not looking for what your client said to you; I'm looking
       8     A. Yes, it was. Yes, itwas.                                     8 for information other than that Okay?
       9     Q. And at the time you signed it on August 30th, 2013, was      9     A. Understood.
      10 that power of attorney in effect?                                   10     Q.    In your capacity as the attorney for Palm House, LLC,
      11      A. Yes, it was.                                                11 were you involved in the negotiation of any of the contracts
      12      Q. And at the time you signed this document did you            12 that led up to this closing?
      13 believe it to be a valid and binding document?                      13     A. I was involved only up to the initial contract, itself.
      14      A. Yes.                                                        14 There afterwards, there were other people who were involved.
      15      Q. And who were the parties to the document?                   15     Q. Okay. Can you mark this 2, please, and this one 3?
      16      A.    The parties to the document were 160 Royal Palm, LLC     16     (THEREUPON, PLAINTIFF'S EXHIBITS NUMBER 2 AND 3 WERE MARKED)
      17 and KK-PB Financial, LLC.                                           17          MR. BURGER: Two is what; the note?
      18      Q. And what did you know about KK-PB Financial, LLC at the 18              MR. DOMB: Number 2 is the note, 3 is the mortgage. We
      19 time you executed the document?                                     19     might as well do this now. Number 4 is the Closing
      20           MR. BURGER; Objection. If you can answer the question     20     Statement
      21      without knowledge that was imparted to you by a client or      21          (THEREUPON, PLAINTIFF'S EXHIBIT NUMBER 4 WAS MARKED)
      22      through your work product go ahead and answer.                 22          MR. DOMB: Five is the Escrow Agreement.
      23           THE WITNESS: I didn't know anything about it.             23          (THEREUPON, PLAINTIFF'S EXHIBIT NUMBER 5 WAS MARKED)
      24 BYMR. DOMB:                                                         24          MR. DOMB: And 6 is the Specific Power of Attorney.
      25      Q. Did you know who the member of that LLC was?                25          (THEREUPON, PLAINTIFF'S EXHIBIT NUMBER 6 WAS MARKED)

                                                                   Page 14                                                                        Page 16
       1           MR. BURGER: Same objection.                                1 BYMR. DOMB:
       2           THE WITNESS: Only whether it was told and I don't even     2      Q. So you didn't have any independent knowledge with
       3      remember it.                                                    3 respect to who would be holding the mortgage with respect to
       4 BYMR. DOMB:                                                         4 this transaction? Is that your testimony?
       5      Q. Did you recognize KK-PB Financial, LLC to be an entity       5      A. I had some but limited. A lot of it was done by another
       6 owned or controlled by Glenn Straub?                                 6 firm up in Connecticut.
       7           MR. BURGER: Same objection.                                7      Q. And what was the name of that firm?
       8           THE WITNESS: I had no independent knowledge. It may        8      A. Ragin Nassau.
       9      have been said that it was. I had no independent knowledge.     9      Q. Ragin? R-O--
       10 BYMR. DOMB:                                                        10      A. R-O-G-I-N, Nassau, N-A-S-S-A-U.
       11     Q. Okay. But either in your capacity - who did you             11      Q. And who did Ragin Nassau represent?
       12 represent at the closing? Who was your client at the closing?      12      A. I'm not sure but it must have been Palm House, but I
       13     A.    160 Royal Palm, LLC.                                     13 don't know who the various parties were.
       14     Q. And who, specifically, were you dealing with at 160         14      Q. Okay. But you didn't form Palm House, LLC?
       15 Royal Palm, LLC?                                                   15      A. NO,I didn't.
       16     A. Let me correct that. Actually, it was Palm House. It        16      Q. And you don't know who the managing member was?
       17 was Palm House.                                                    17      A. I was the managing member of one. I think I was the
       18     Q. Okay. So Palm House, LLC was your client?                   18 managing member of 160 Royal Palm. I'm not sure who the managing
       19     A. Was my client, yes.                                         19 member was of 160 Royal Palm. Can I look at this?
       20     Q. And was that an entity that was formed specifically for     20      Q. Sure. And in response to number four you produced the
       21   the purpose of accepting the membership interest of 160 Royal    21 Escrow Agreement which has been marked as plaintiff's 5; is that
       22 Palm, LLC?                                                         22 correct?
       23          MR. BURGER: Objection. If you can answer the question 23          A. That's correct.
       24     without going into your work product and what was discussed. 24           Q. And you recognize that agreement?
       25          THE WITNESS: I didn't form it and I don't know what       25      A. Yes, I do.



                                                                                                                              BOO.211.DEPO (3376)
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      LESLIE ROBERT EVANS                                                                                                            October 19,2015
      KK PB FINANCIAL VS. 160 ROYAL PALM                                                                                                       17-20
                                                                       Page 17                                                                         Page 19
       1     Q. Did you draft the agreement?                                       1 skimmed it. I really didn't study it.
       2     A.     No, I didn't.                                                  2     Q. So you're not part -- are you at all familiar with the
       3     Q. Do you know who drafted the agreement?                             3 $2,000.00 per day fine that was running by virtue of the
       4     A. I believe it was drafted by Craig Galle.                           4 declaration of use agreement with the Town of Palm Beach?
       5     Q. Okay. And during the course of the negotiations of the             5      A.    I'm familiar with it, yes.
       6 contract wasn't Craig Galle supposed to be the escrow agent? Was          6      Q. Okay. And was this escrow constructed primarily to
       7 it contemplated that Craig Galle would be the escrow agent?               7 handle what was to happen with respect to the $2,000.00 a day
       8     A.     I don't remember.                                              8 fine running by the Town of Palm Beach?
       9      Q. Okay.                                                             9            MR. BURGER: Objection. If you can answer the question
      10      A. The closing was so convoluted.                                    10     without - independently without knowledge of client or
      11      Q. But, nevertheless, this is the Escrow Agreement that              11     other--
      12 was executed on August 30th, 2013, in connection with this                12           THE WITNESS: You can say this, that there were some
      13 transaction?                                                              13     other undisclosed liabilities that I think was a defined
      14      A. Yes, it is.                                                       14     term in there. It not only referenced the fine but there
      15      Q. Okay. And on the bottom right hand corner would those             15     were other undisclosed liabilities.
      16 be your initials?                                                         16 BYMR. DOMB:
      17      A. Yes, they are.                                                    17     Q. Do you recall what they were?
      18      Q. Okay. And your initials are on the bottom right hand              18     A.     I don't recall. I think there's a define section in
      19 corner of every page -                                                    19 there, something like that.
      20      A. That's correct.                                                   20     Q. Take a look at paragraph five if you will and tell me
      21      Q. - except the signature page; is that correct?                     21   if that helps to refresh your recollection.
      22      A. That's correct.                                                   22     A.     Somewhat, yes.
      23      Q. And, let's see - one, two three, four, five -- this               23      Q. Okay. So what were the undisclosed liabilities?
      24 would be unmarked page six, and is that your signature for Palm           24     A. They referenced certain possible references to a
      25 House, LLC?                                                               25 purchase agreement, membership purchase agreement, and that

                                                                       I-'age 18                                                            Page 20
       1      A.     Yes.                                                           1 there, I think, could have been something related to any of the
       2      Q. And you signed that with your specific power of                   2    reps and warranties of the seller.
       3    attorney?                                                              3       Q. Okay. And take a look, if you will, at paragraph G and
       4      A.     Yes.                                                          4    there's a number referenced in there. How much is that?
       5      Q. And you had the authorization to use that power of                 5     A.     It's $744,442.00.
       6    attorney to sign the documents at the closing that took place on        6      Q. And was that the amount of the escrow?
       7 August 30th, 2013?                                                         7      A.    That's the amount of what's defined as the funds.
       8      A.     Yes.                                                           8      Q. That's the amount of the funds that were depOSited with
       9      Q. And did you perceive this to be a valid and binding                9 you as the escrow agent?
       10   document?                                                              10      A.     They were never deposited with me.
       11      A.     Yes.                                                         11      Q. And - well, you have an escrow agreement here;
       12      Q. And on the final page of this same document you signed 12 correct?
       13   on behalf of Leslie Robert Evans & Associates, P.A.?                   13      A.     That's right.
       14      A.     Yes.                                                         14      Q. And you signed that you would be responsible for
       15      Q. And you signed that you would be the escrow agent of             15 holding and disbursing $744,442.00; correct?
       16 the transaction; is that correct?                                        16      A.     That's correct.
       17      A.     That's correct.                                              17      Q. And you've been practicing law for 40 years; correct?
       18      Q. And what did you believe your duties to be with respect 18               A.     Yes.
       19 to the escrow in this particular transaction?                            19      Q. Why would you sign an escrow agreement if you never
       20      A.     I was supposed to carry out the duties set forth in the      20   received $744,442.00?
       21   escrow agreement.                                                      21      A.     That section G says the parties agree that seller shall
       22      Q. And what were the duties?                                        22   deposit. The seller never deposited that X amount of funds.
       23      A.     I don't remember, specifically, but there were certain       23      Q. Well, let's look at what you've provided in response to
       24   funds that if they were deposited I was to hold pursuant to the        24   request number 3. And this is marked as plaintiffs 4. Is this
       25   instructions therein. I don't remernber the individual - I             25   the closing statement for the transaction which occurred on



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                                                                      Page 21                                                                    Page 23
       1 August 30th, 2013?                                                      1      Q. So you had these funds in your -- or should have the
       2      A. Th at's correct.                                                2 funds in your trust account; correct?
       3      Q. And who prepared that closing statement?                        3      A.   It says seller deductions. There's a difference between
       4      A. I'm not sure.                                                   4 a closing statement and a disbursement statement.
       5      Q. Were you the closing agent for the transaction?                 5      Q. Do you, as the closing agent in this transaction, have
       6      A.     I was but I believe that this was prepared by Craig         6 a disbursement statement?
       7    Galle.                                                               7      A. I don't believe there was one done in this, no.
       8      Q. Are you sure it was prepared by Craig Galle?                    8      Q. Why not?
       9      A. I'm not sure.                                                   9      A.   It was a very convoluted closing, it was done late on a
       10     Q. Not sure. Are you sure that you didn't prepare it?              10 Friday afternoon, and Mr. Straub wanted to get out of here so
       11      A.    The only thing I'm sure of is this is not the form that     11   badly a lot of things weren't done necessarily the way I
       12   I would normally use to prepare a closing statement.                 12 normally might have done them.
       13      Q. Okay. And did you, on August 30th, 2013, have an               13     Q. The sum due to the seller at closing, the figure on the
       14 opportunity to review this closing statement?                          14   bottom, did you disburse $6,220,920.86 to the seller?
       15      A. Yes.                                                  15              A. No.
       16      Q. And does the closing statement represent receipts and 16              Q. Why not?
       17 disbursements that were supposed to have taken place at that 17               A.   I don't remember.
       18   cloSing?                                                             18      Q. Don't you find it odd that as the closing agent you
       19      A.    That were supposed to have occurred; yes.                   19 would not have disbursed the funds in this transaction in
       20      Q. Okay. And is that your signature at the bottom of the          20   accordance with the closing statement?
       21   page?                                                                21      A. Normally I would agree with you. Again, I'm having a
       22      A. Yes.                                                           22   difficult time. This was more than two years ago. It was an
       23      Q. And you signed that with your specific power of                23   extremely convoluted closing. And I know, as a fact, that it was
       24   attorney on behalf of Palm House, LLC?                               24   so late on a Friday that no funds were even disbursed that day.
       25      A.    That's correct.                                             25 There were some wires that were sent out later, but there were

                                                                       Page 22                                                                    l-'age24
       1       Q. And you had the authority to do so?                            1 no funds even disbursed that day. That's not normal at a
       2       A.    Yes.                                                        2 closing. That goes beyond the closing time of a normal closing
       3       Q. And you did this at the closing on August 30th, 2013?          3 time.
       4       A. Yes.                                                           4      Q. Sure. But at some point did you receive a sum of money
       5       Q. And did you expect this to be a valid and binding               5 from the purchaser in this transaction?
       6    document with respect to the parties?                                 6     A. Yes.
        7      A. Yes.                                                            7     Q. And what was that sum?
        8      Q. Okay. Take a look, if you would, down at the seller's           8     A.   I don't recall.
        9   deductions on the left hand side of the closing statement.            9     Q.   And do you not have any record of receiving funds from
       10 There's a number there for $586,000.00 and it says escrow              10 the purchaser in a $36 million dollar real estate transaction?
       11    $2,000.00 per day; correct?                                         11      A. There was no $36 million dollars ever received. And I
       12       A. Yes.                                                          12 believe when I gave you the copy of the documents, I gave you a
       13       Q. And above that $25,000.00 escrow for AC?                      13 copy of the ledger that showed the funds that came in and the
       14       A.    Yes.                                                       14 funds that went out.
       15       Q. And above that $133,442.00 escrow liens retainage?            15          MR. BURGER: If there are account numbers, Alec, can we
       16       A. Yes.                                                          16     just agree that the PlI's going to be redacted? You're not
       17       Q. Correct?                                                      17      supposed to -- the new rules say that you can't have an
       18       A.    Yes.                                                       18      account number or the name or an account number, you know,
       19       Q. And if I were to tell you that the total of those three       19      so you can't track them if it's recorded, if the deposition
       20    figures represents $744,442.00 what would be your response? 20              ends up in public records. Do you follow what I'm saying?
       21       A.    I haven't done the math right now but I would assume       21          MR. DOMB: Uh-huh.
       22    it's correct.                                                       22          MR. BURGER: I'm not saying it well, but I think you
       23       Q. And so who handled disbursements for the closing on           23      get what I'm saying.
       24    this transaction?                                                   24          MR. DOMB: Yeah. I don't know if I have -- I'll take a
       25       A.    I did.                                                     25      look and see what I've got.



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      1            MR. BURGER: But if there is just account numbers, we                1      Q.     And that wire went to -
      2      just have to be cognizant of that.                                        2      A. 160 Royal Palm, LLC.
      3 BYMR. DOMB:                                                                    3      Q.     So it went to the seller?
      4      Q. Let's mark this as 7 please. Okay. This QuickBooks                     4      A.     Yes.
      5 ledger transaction, is this what you provided to me? You                       5      Q.     And could you show me where on exhibit number 4 the sum
      6 provided this to me in response to which request?                              6 of $2,580,000.00 appears?
      7      (THEREUPON, PLAINTIFF'S EXHIBIT NUMBER 7 WAS MARKED)                      7      A. It doesn't.
      8      A.     Number eight.                                                      8      Q. And the next wire on September 3rd was for $150,920.08;
      9      Q.     Number eight, okay. So copies of escrow account ledgers            9 is that correct?
      10 relating to the escrow funds pursuant to the escrow agreement                 10     A.     That's correct.
      11   dated August 30th, 2013, and the disbursement of said funds.                11     Q. And can you show me where on the closing statement the
      12 This is your ledger account? Is this the ledger account for this              12 amount of $150,920.08 exists?
      13 transaction?                                                                  13     A.     It doesn't.
      14     A. Yes, it is.                                                            14     Q.     So how did the seller receive $6,220,920.86?
      15     Q.     Do you have any other ledger accounts relating to this             15     A. What that was was a group of people silting at this
      16 transaction?                                                                  16 very table on a Friday night. There was some handwritten notes
      17     A.     No.                                                                17 that were done, basically, by Craig Galle, Mr. Glenn Straub and
      18     Q.     So that as of August 29th, 2013, you had -- I'm sorry.             18 Ryan Black, or I was representing Ryan Black on it.
      19 As of August 28th, 2013, you had $3 million -- $3,090,000.00 in               19      Q. Was Ryan Black actually in the room at the time of the
      20 that account; is that correct?                                                20 closing?
      21     A. Yes.                                                                   21     A.     I don't think he was there for the whole closing, no.
      22     Q. Where did the $3,090,000.00 come from?                                 22      Q. Was Ryan Black actually in your office during the
      23     A. It came from a variety of sources. I don't remember                    23 entire closing?
      24 exactly where.                                                                24      A.    I don't believe so. I don't remember. I don't believe
      25      Q.    And so with respect to this transaction you had money              25 so.

                                                                             Page 26                                                                   Page 28
       1   in your account before the transaction took place?                          1      Q.      Okay. But you had full authority to act on behalf of
       2      A.     Yes.                                                              2    Palm House, LLC pursuant to your specific power of attorney; is
       3      Q.     Where would that money - where would that money have 3                 that correct?
       4   come from?                                                                  4      A. That's correct.
       5      A.     It would have come from the buyer.                                5      Q.      Okay. And during the course of the conversations at
       6      Q.     Okay.                                                             6    this very table on Friday, August 30th, 2013, what, if anything,
       7      A.     Or from people who sent it on behalf of the buyer.                7    was discussed with respect to the $2,000.00 a day fine accruing
       8      Q.     Okay. And closing took place on August 30th, 2013;                8    to the Town of Palm Beach?
       9   correct?                                                                    9             MR. BURGER: Objection. I'm assuming you're -
      10      A.     Yes.                                                              10   BYMR. DOMB:
      11      Q.     As you previously testified, it was August 30th, 2013,            11       Q.    I'm not asking you for what your client told you.
      12   late on a Friday afternoon?                                                 12            MR. BURGER: Got it. What was discussed with the client
      13       A.    I think it was a Friday afternoon. It was right around            13       --
      14    Labor Day. I think it was -- yeah, it was Friday because Labor             14            MR. DOMB: But the client wasn't in the room. So you
      15   Day was the Monday, the first Monday in September.                          15       were the only person in the room so you really COUldn't have
      16       Q.     Okay. So, for the record, August 30th, 2013, was a               16       had a conversation with the client in this room.
      17    Friday. So then the first available opportunity you had to send            17            MR. BURGER: That's not accurate, but that's okay.
      18 funds in this transaction would have been Tuesday, the 3rd,                   18            THE WITNESS: That's correct. But I think it had been
      19    after the Monday, Labor Day; is that correct?                              19       discussed earlier when the contract was being drafted. I've
      20       A. That's correct.                                                      20       got a vague recollection but, again, with going back two or
      21       Q.     And so on the 3rd you sent two wires in regard to this           21       three years that there was a fine running that, I think
      22    transaction?                                                               22       pursuant to the agreement for purchase and sale, Mr. Straub
      23       A. That's correct.                                                      23       was going to try to get that settled within - as soon as he
      24       Q.     And the first wire was for $2,580,000.00?                        24       could but that he was going to be responsible for the
      25       A. That's correct.                                                      25       payment of that fine, whatever it was.



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                                                                     page 29                                                            Page 31
      1    BYMR. DOMB:                                                         1 $133,442.00, $25,000.00 and $586,000.00 escrow for the $2,000.00
      2      Q. And wasn't that the purpose or the basis for exhibit 5,        2 per day to come from not the seller but from the buyer's cash to
      3 which was to put up funds in escrow to cover that eventuality in       3 close?
      4    that could he not negotiate away the fine with the Town of Palm     4      A.    It would see that the escrow agreement says the funds
      5    Beach in a timely fashion?                                          5 would come from the seller.
      6            MR. BURGER: Objection.                                      6      Q. Well, isn't it coming from the seller here in this
      7            THE WITNESS: That's part of it. Again, if you take a        7 closing statement?
      8      look at this escrow agreement in section G it says the            8      A.    It's coming from Palm House, LLC. The seller here in
      9      parties agree that seller, and the seller is Glenn Straub,        9 this document was Glenn Straub.
      10      shall deposit the sum of $744,442.00 with the escrow agent.      10     Q. Okay. Let me ask you this question. Looking at the
      11           MR. DOMB: Okay.                                             11   signature lines on this closing statement is there a mistake
      12           THE WITNESS: And he never gave me -- the seller never 12 that's pretty evident to the naked eye as a 40 year real estate
      13      gave me a check for those funds.                                 13 attomey?
      14   BYMR. DOMB:                                                         14     A. What mistake are you talking about?
      15      Q. I'm sorry, but I have a closing statement here that           15     Q. Who is the seller in this transaction?
      16   says that this is the purchase price; correct? This is the total    16     A. The seller would be the owner of the membership
      17 purchase price?                                                       17 interest.
      18      A.    That's correct.                                            18     Q. Correct. And did Palm House, LLC own the membership
      19      Q. Okay. And that these funds were all going to be               19 interest?
      20   deducted from the purchase price; correct?                          20     A.    No.
      21      A.    Yes.                                                       21      Q. Was Palm House, LLC the seller of this transaction?
      22      Q. And so that at the end when all was said and done,            22     A.    No.
      23   including a $27,486,750.00 mortgage; correct?                       23      Q. So is the closing statement correct when it says that
      24      A.    Correct.                                                   24 the seller is Palm House, LLC?
      25      Q. So when all of these funds were deducted from this            25     A. A lot of this, I would agree with you, it's not

                                                                  Page 30                                                                     Page 32
      1 purchase price that the net funds to the seller would be this           1 necessarily correct. A lot of this I didn't do. It was done late
      2 amount; correct?                                                       2    at night and they were talking between three or four different
      3       A. That's what the document says but -                           3    parties on the phones. And a lot of this, the more I think about
      4       Q. Okay.                                                          4 this, the more it's brought up, I didn't prepare this closing
      5       A.    -- there were -                                            5    statement. I think that Ragin Nassau said it's okay with them
      6       Q. Well-                                                          6   and Craig Galle, that's G-A-L-L-E, and Mr. Straub said it's okay
      7            MR. BURGER: Let him answer.                                  7 to sign, I signed it. Ryan Black was also on the phone.
       8           THE WITNESS: That's what the document says but there         8   Q. Okay. Let's look at the other signature line; buyer.
      9       were some negotiations going on there between the various         9 Who is the buyer in the closing statement?
      10      representatives and the attorney. Craig Galle, and the           10      A.     It says 160 Royal Palm, LLC.
      11      attorney up at Ragin Nassau that it was what it was. I never     11      Q. Was 160 Royal Palm, LLC the buyer in this transaction?
      12      receive the $744,402.00, per se, from the seller that's          12      A.     No.
      13      described in the escrow agreement from Glenn Straub. The         13      Q. Who was the buyer in the transaction?
      14      seller here is Palm House, LLC, so there's a difference.         14      A.     Palm House, LLC was.
      15      There were some side agreements and discussions amongst          15      Q. So Palm House. LLC was the buyer?
      16      themselves and nobody objected to any of this until              16      A.     Uh-huh.
      17      recently.                                                        17      Q. Once-
      18 BYMR. DOMB:                                                           18           COURT REPORTER: Is that a yes?
      19      Q. Isn't it true that as far as this real estate                 19            MR. DOMB: 160 Royal Palm -
      20 transaction is concerned, the funds come from the buyer to the        20           COURT REPORTER: Was that a yes?
      21    closing agent who disburses in accordance with the contract and 21              THE WITNESS: Yes.
      22 in accordance with the closing statement; correct?                    22           COURT REPORTER: Sorry.
      23      A.     That's generally the case, yes.                           23            MR. BURGER: You have to answer out loud. You've said
      24       Q. Okay. So then wouldn't the funds necessary to fund the       24       uh-huh twice. She's --
      25    escrow agreement that you signed which is set forth here as        25            MR. DOMB: No uh-huh's.



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      1 BY MR. DOMB:                                                                  1     A.     It's got my signature on it and my initials on every
      2      Q.      So was 160 Royal Palm the seller?                                2 page, as you've duly noticed before.
      3      A.     No.                                                               3     Q.     So you initialed every page?
      4      Q.      Who was the seller?                                              4     A. That's correct.
      5      A.     The seller was - the seller was, I believe, Glenn                 5     Q.     And on page 14 it's your signature. However in this
      6    Straub.                                                                    6 case - however in this case you didn't execute the document
      7      Q.      And he advised that -                                            7 with your specific power of attorney, did you?
      8      A.     I'm not sure because I don't know who owned the                   8     A. That's correct.
      9    membership interest.                                                       9     Q.     And so on August 16th of2013, were you the managing
      10      Q.     Okay.                                                            10 member of Palm House PB, LLC?
      11      A. Whoever owned the membership interest was the seller. 11                    A.    I believe I was.
      12      Q.     Do you know if that's Glenn Straub's signature? Were             12     Q.    And is Palm House PB, LLC the same as Palm House, LLC?
      13 you there at the time? Did you see him sign?                                 13     A.    I can't recall.
      14      A. Yes, I believe that's Glenn Straub's signature.                      14     Q.     Did you form Palm House PB, LLC?
      15      Q.     And that's your signature?                                       15     A.    I probably did. I can't recall.
      16      A. That's my signature, yes.                                            16     Q.     So as the managing member of Palm House PB, LLC, did
      17      Q.     But these labels are incorrect?                                  17 you have authority to enter into a contract to purchase the
      18      A. That's correct. I take no pride of draftsmanship                     18 entity 160 Royal Palm, LLC?
      19 because I didn't draft it.                                                   19           MR. BURGER: Objection.
      20      Q.     Why would you sign a closing statement where you are             20           THE WITNESS: I wouldn't have done it without
      21   also the closing attorney if you believed that these figures               21     authority.
      22 were not correct?                                                            22 BY MR. DOMB:
      23            MR. BURGER:          Objection.                                   23     Q.     And in paragraph three, the document requires a $2
      24           THE WITNESS: The reason being is that this was being 24 million dollar deposit to be delivered to the escrow agent on
      25      directed in large part out of Connecticut. It was late at               25 the effective date of August 16, 2013. Did you receive $2

                                                                            Page 34                                                                       Page 36
      1      night. They said sign it, we understand what it is; sign it.             1 million dollars on August 13th, 2013?
      2      And I signed it.                                                         2      A.    I believe I had those funds in my escrow account.
      3 BY MR. DOMB:                                                                  3      Q.     Is that part of the $3,090,000.00 you must have had the
      4      Q.    So looking at paragraph G, read it for me, please.                 4 day before August 29th?
      5      A. The parties agree that seller shall deposit sum equal                 5      A.    I believe it is.
      6 to $744,442.00, defined as the funds, with escrow agent In order              6      Q.    And how much more did you receive from the buyer in
      7 to address the completion violation, the noise violation and                   7 this transaction, if you recall?
      8 undisclosed liabilities, as more particularly set forth herein.                8     A.    I don't recall.
      9      Q.    And what was your understanding of the completion                   9     Q.     Let's take a look at exhibit number 7. According to
      10 violation?                                                                   10 your ledger you received a deposit on September 6th of 2013, in
      11     A. It had to be completed by a certain date or else I was                11   the amount of $1 ,064,858.73; correct?
      12 going to be fined $2,000.00 per day.                                         12     A. Yes.
      13     Q.    So then it is your understanding that the completion               13     Q.     And where were those funds supposed to be distributed?
      14 violation escrow related to the $2,000.00 a day, or $586,000.00;             14     A.     This was a general - we had a general escrow account
      15 is that correct?                                                             15 here and there were a number of things that were put in there to
      16     A. It seems so, yes.                                                     16 pay other bills, too. So it wasn't just -- nothing is earmarked.
      17     Q.    What's the next; 8?                                                17 There wasn't a specifiC escrow account for this transaction
      18           COURT REPORTER: Eight.                                             18 solely for the purchase.
      19 BY MR. DOMB:                                                                 19      Q.    Okay. Well, in addition to the $2 million dollar
      20     Q.    Exhibit 8. Okay. Let me have you take a look at that               20 deposit, how much actual money did you receive from the buyer in
      21   contract and ask you if you recognize it?                                  21   connection with this transaction?
      22          (THEREUPON, PLAINTIFF'S EXHIBIT NUMBER 8 WAS MARKED) 22                     A.    I'm not sure.
      23     A. Yes, I do.                                                            23      Q.    Well, the total amount due from the buyer, according to
      24     Q.    And that's marked exhibit 8 for identification. How do             24 this closing statement, is $36,776,203.13; correct?
      25 you recognize it?                                                            25      A.    That's what it says, yes.



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      1      Q.    Do you have any reason to doubt that's an accurate         1 released if there's a letter from the Town that it's released
      2 reflection of the dollars and cents in connection with this           2 and fully satisfied.
      3 transaction?                                                          3     Q.    Did you ever get a letter from anyone saying that the
      4    A. I have some reason to doubt.                                    4 Town was satisfied in releasing the lien?
      5    Q. Okay. And please tell me why.                                   5     A.    I don't believe so.
      6    A. Because this was one of the craziest, sloppiest                 6     Q.    Did you ever distribute $586,000.00 to the purchaser
      7 closings that I've ever had in 40 years and I'm not sure what         7 due to the failure of the seller to accomplish the task of
      8 the hell went on with some of it. All I know is that there were       8 taking care of the lien within 60 days as contemplated by the
      9 certain agreements between some of the principles. I sent out         9 escrow agreement?
      10 the funds that had been agreed between them. The names don't         10          MR. BURGER: Objection.
      11   necessarily match up on here. And I never heard that there was a 11            THE WITNESS: In that 60 day period, from what I recall
      12 problem with the escrow account until very recently.                 12     from looking at the ledger here, there were always
      13           And I understand what you're saying here, and I know I     13     sufficient funds to cover that through longer than the 60
      14 shouldn't be testifying because you're not supposed to testify       14     day period.
      15 unless a question's asked, but I'm looking here and it says here     15 BY MR. DOMB:
      16 seller credits, and it says sum due to seller closing                16     Q.    So what you're telling me is that you had funds
      17 $6,220,000.00 and I can't tell you that I sent them                  17 available in your account to distribute to the buyer?
      18 $6,220,920.86, that there's something missing from this which I      18     A. What you're doing is testifying for me.
      19 can't recall which may have been done separately and apart. But      19     Q.    What I'm doing is asking you if you had the funds in
      20   I know this, that if they didn't receive the $6,220,000.00 et      20 your escrow account. Isn't that what you just said?
      21   celera, if there wasn't some document, which I don't have, then    21     A.    No. What I was saying was that again, according to my
      22 there would have been a lot of screaming a lot earlier than          22 earlier testimony, one and one doesn't necessarily add up to two
      23 there was with this.                                                 23 here, but there was never less than $744,000.00 until way after
      24           In other words, I'm telling you that I think there may     24 the 60 day period to get this remedied.
      25 be something missing here that I don't have in my files and I        25     Q.    So then what you are saying is that you had the funds

                                                                    Page 38                                                                  Page 40
       1 can't -- I'm trying to answer you as honestly as I possibly can       1 in your escrow account to satisfy the escrow; correct?
      2 but one and one is not necessarily adding up to two. But if           2           MR. BURGER: Objection.
      3 there was a problem, if you see that the seller just got $2           3           THE WITNESS: There were funds in my escrow accoun
      4    million or $3 million dollars here, and they're supposed to get    4      that would have satisfied it. Whether those were necessarily
       5 $6 million dollars, I think the seller would have screamed a         5      earmarked for it or not, I can't answer. But there were
       6 hell of a lot more if there wasn't something else. What that is,     6      sufficient funds. Again, I'm not sure that they were
       7 I can't tell because half the documents at closing were scooped       7     earmarked specifically for this completion violation, the
       8 up and I didn't necessarily see all of them.                          8     noise violation, but there were enough funds if they were
       9           I did what I was told by Connecticut, in conjunction        9     earmarked for that, to cover that for more than the 60 day
      10 with Craig Galle, and that's alii heard until a problem came         10      period.
      11   up, I guess, a year or two down the road. So, like I say, one      11   BY MR. DOMB:
      12 and one is not adding up to two. There's something missing here 12          Q.    And did you ever receive a demand from the buyer to
      13 and I'm not sure what it is. And I'm sure if I was sitting           13   release the funds after the 60 day period expired?
      14 closer to Alan, he would have kicked me for saying any more.         14     A.    I never received a written demand.
      15           MR. BURGER: I wouldn't kick anybody.                       15     Q.     Did you ever receive a verbal demand?
      16 BY MR. DOMB:                                                         16     A. There was a discussion whereby I was told -
      17      Q.    Could I have you take a look at paragraph three of        17          MR. BURGER: If it's privileged -
      18 exhibit 5 relating to the completion violation?                      18          THE WITNESS: It's privileged.
      19      A.    Yes.                                                      19           MR. DOMB: Well, you can tell me if a discussion was
      20      Q.    Okay. Please tell me what it says.                        20      held, you just can't tell me --
      21      A.    It says that the seller may negotiate with the Town and   21          MR. BURGER: Right. He's right.
      22 that if the completion violation is remedied within 60 days and      22          THE WITNESS: Yes, there was a discussion.
      23 can send me confirmation of that, that the completion violation      23           MR. BURGER: Or what was -- or what was discussed.
      24 is fully released, let's see - let's see -- that they could          24           MR. DOMB: Or what your client said to you.
      25   negotiate with the Town and, let's see, it will be deemed          25          THE WITNESS: There was a discussion held.


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      1    BYMR. DOMB:                                                           1      Q.     And the buyer knew that as they stepped into the shoes
      2      Q. Okay. And can I ask with whom?                                   2 of 160 Royal Palm, LLC, by virtue of acquiring the membership
      3      A.    I can't remember exactly who it was. It may have been a       3    interest, that that fine would be accruing to 160 Royal Palm?
      4    few people.                                                           4             MR. BURGER: Objection. Because you're calling - you
      5      Q. Okay. And it was a discussion specifically relating to           5      said the buyer knew, so it calls for attorney/client
      6    the $2,000.00 a day fine being run by the Town of Palm Beach?         6      communication and work product and also to jump into the
      7      A.    Amongst other things.                                         7      mind of the buyer.
      8      Q. Okay. In those discussions did anybody ask you if you            8    BYMR. DOMB:
      9    had the funds in your account pursuant to the escrow agreement?       9      Q.      Did you as the - did you as the specific power of
      10      A.    I don't recall that they asked that. They asked how          10 attomey know of the existence of the accruing $2,000.00 a day
      11   much were the funds in the account, but I don't know that they        11   fine with the Town of Palm Beach?
      12 asked specifically was it pursuant to the escrow agreement.             12            MR. BURGER: If you can -- objection. If you can answer
      13      Q. Okay. But you never disbursed any funds to the buyer in         13      on your own without anything other than what you have
      14   connection with the completion violation, the noise violation or      14      learned as an attorney go ahead and answer it.
      15 undisclosed liabilities?                                                15            THE WITNESS: Yes.
      16      A.    I never gave a check to my client for the amount of the      16 BYMR. DOMB:
      17 completion violation and noise violation or undisclosed                 17      Q.     From August 30th, 2013, till the present have you ever
      18 liabilities.                                                            18 received a written demand for the release of the completion
      19      Q. The "as is· contract, if you would turn to page six,            19 violation funds that were contemplated in the escrow agreement?
      20   please, and look at paragraph nine.                                   20            MR. BURGER: Objection.
      21           MR. BURGER: Objection. Do you want to go off the              21            THE WITNESS: No.
      22      record? We can go or not in front of the witness but we            22            MR. BURGER: I objected. He said no.
      23      should have a discussion?                                          23            MR. DOMB: In no particular order.
      24           MR. DOMB: We should?                                          24            MR. BURGER: Right.
      25           MR. BURGER: Yeah.                                             25   BYMR. DOMB:

                                                                  Page 42                                                                             Page 44
      1            MR. DOMB: It's up to you. We can go ahead and go off           1      Q.     Is it your testimony here today that you still have
      2       the record.                                                        2    funds in your escrow account sufficient to resolve the escrow?
       3           COURT REPORTER: Are we going to go off the record?            3             MR. BURGER: Objection.
      4            MR. DOMB: Yeah, let's go off the record.                      4             THE WITNESS: No.
       5           MR. BURGER: Yeah.                                              5   BYMR. DOMB:
       6           (OFF THE RECORD)                                               6      Q.     Do you still maintain a ledger for the transaction
       7           (BACK ON THE RECORD)                                           7   known as 160 - or the Palm House, I should say?
       8 BYMR. DOMB:                                                              8      A.     Yes.
       9      Q. In your review and execution of any of the contracts             9      Q.     You do? Does it have a balance?
      10 that were presented, and, apparently, there were several                10      A.     Yes.
      11   variations and incamations of this transaction, the contract to       11      Q.     Is the balance in excess of $744,442?
      12 this contraction almost right up until the end, did each of them        12      A.     No.
      13 contain within it a disclosure regarding the existing litigation        13      Q.      Looking at -- looking at the closing statement again it
      14 between 160 Royal Palm and the Town of Palm Beach?                      14 shows the sum of money due from the buyer at $36,776,203.13. It
      15      A.    I can't remember exactly. I assume it did, but I can't       15 shows buyer credits including the mortgage of seller financing
      16 remember exactly.                                                       16 totaling $29,619,828.13; correct?
      17      Q. And did each version of the contracts that you've seen          17      A.     Correct.
      18 and signed on behalf of Palm House, LLC or Palm House PB, LLC 18                Q.     The difference is $7,156,375.00. Is that the amount
      19 contain a disclosure with respect to the $2,000.00 a day                19 that you received from the purchaser to close and fund this
      20 accruing fine with the Town of Palm Beach?                              20    transaction?
      21      A.    I believe so. I'm not sure.                                  21      A.     I don't recall and I don't believe that's correct.
      22      Q. Is there any doubt in your mind that the buyer of the           22      Q.     Which is it?
      23 interest in 160 Royal Palm knew of the existence of the                 23      A.     I don't believe that's correct.
      24    $2,000.00 a day accruing fine with the Town of Palm Beach?           24       Q.     Do you - as you sit here today can you tell me exactly
      25      A. The buyer knew about that, yes.                                 25    how much you received from the buyer to purchase the interest



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      1 that it purchased at the closing on August 30th, 2013?                        1 no initials on the bottom right hand corner.
      2      A. The only thing that I could tell you today is from the                2     A.     I may not have been paranoid at the time that I signed
      3 ledger that I have. We had $2 million -- we had about $3 million              3 this.
      4 dollars. That's all that I can see from this ledger that I had.               4     Q. Okay. But on the last page - but they are out to get
      5 There would have been no other funds that I knew of but that may              5 you. On the last page, Palm House, LLC, is that your signature
      6 have been something done directly between the parties that was                6 using your specific power of attorney?
      7 outside of my purview.                                                        7     A. Yes, itis.
      8   Q. Was there a specific discussion at the closing, at this                  8     Q. And you had the authority to sign this document on
      9 table at the closing, with respect to what was going to happen                9 August 30th of 2013?
     10 to the completion escrow in the event the 60 days went by and                 10    A.      Yes.
      11   the Town of Palm Beach refused to close out the $2,000.00 a day 11               Q. And you -- and that power hadn't been revoked or
      12 fine?                                                                        12 removed from you?
      13      A.    I have a vague recollection of what went on. And I                13    A.      Not to my knowledge.
      14 believe Mr. Straub said that he was going to - he was bringing               14     Q. And you anticipated or believed this to be a valid and
      15 the lawsuit or brought a lawsuit that the -- because of the                  15 binding document at the time you executed it?
      16 hurricane and the economy, I believe it was, that they extended              16    A. Yes.
      17 the time for completion and that there was a lawsuit that there              17     Q. And can you tell me what this document purports to do?
      18 was going to be more time. But I can't remember the specifics                18     A.     It assigns the interest, the membership interest,
      19 but he didn't believe that he was going to lose the case and,                19 between one party to another party.
      20 therefore, he would - he indicated that the fine would be                    20   Q. Okay. And, specifically, who are the parties to the
      21 knocked out. I can't remember too much of the specifics because              21 agreement?
      22 I was walking in and running out back and forth during the                   22     A.      Glenn F. Straub was the seller and Palm House, LLC, a
      23 closing.                                                                     23 Delaware LLC, was the purchaser.
      24      Q. If I could get you to take a look at the "as is"                     24   Q. Okay. And so regardless of the various incarnations of
      25 purchase and sale agreement, and as we have all agreed this is               25 agreement for sale and purchase and so on, this assignment is,

                                                                            Page 40                                                             Page 4ts
      1 one of various incarnations, if I could ask you to turn to page               1 actually, what occurred when all was said and done; correct?
      2 seven, paragraph 13.3. There's a reference there to 160 Royal                 2    A. Correct.
      3 Palm, LLC versus the Town of Palm Beach, case number                          3    Q. And what occurred was that Glenn Straub, who
      4 12-CA-023613·AA, Circuit Court of Palm Beach County, Florida. Is              4 individually - well, you tell me. What did Glenn Straub sell to
       5 that the lawsuit to which you are referring?                                 5 Palm House, LLC?
      6     A. I believe so.                                                          6      MR. BURGER: Objection.
      7     Q. And is that the same case in 13.9?                                     7      THE WITNESS: I believe he sold his membership interest
       8   A. I believe so.                                                            8    in 160 Royal Palm, LLC.
       9   Q. So - and in looking at this paragraph would you agree                    9 BYMR. DOMB:
      10 that this paragraph was consistently disclosed throughout all of             10   Q. And at the close of the transaction what did Palm
      11 the various incarnations of the purchase and sale?                           11 House, LLC own?
      12    A. Well, it certainly was in this one. I can't see all the                12     A. They would have owned the membership interest of Glenn
      13 drafts but in this draft it was.                                             13 F. Straub.
      14    Q. Is this 9?                                                             14    Q. Okay. And was that 100 percent of the membership
      15           COURT REPORTER: Yes.                                               15 interest in 160 Royal Palm, LLC?
      16           MR. BURGER: It's what; the assignment?                             16     A.      I believe it was. It was supposed to be.
      17           MR. DOMB: The assignment, yes.                                     17     Q.      Okay. And take a look at paragraph 2.13.
      18      (THEREUPON, PLAINTIFF'S EXHIBIT NUMBER 9 WAS MARKED) 18                               MR. BURGER: Where's the 2.13?
      19 BYMR. DOMB:                                               19                               MR. DOMB: It's 2.13.
      20   Q. All right. Let me show you what has been marked as 9 20                               THE WITNESS: There's contingencies to litigation.
      21 for identification and ask if you recognize it.                              21            MR. BURGER: Oh,2.13.
      22      A. Yes.                                                                 22            MR. DOMB: 2.13.
      23      Q. And how do you recognize it?                                         23            MR. BURGER: Got it. Never mind. Got it. Sorry. All
      24      A. I signed it as - under a power of attorney.                          24        right.
      25      Q. However, the exception that proves the rule, there are               25 BY MR. DOMB:


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             Q.    Okay. If you'd take a moment to look at that and tell         1      Q.    How do you recognize it?
      2    me what that meant to you as the executing party.                     2      A.    I recognize it because I saw it then and it's got my
      3      A. That there was no contingent liabilities except for the          3 name on it.
      4    Town of Palm Beach lawsuit and any undisclosed liabilities,           4      Q.     Is that, in fact, the specific power of attorney that
      5    possibly. Of course, that was tied into the agreement for             5 you utilized in executing all of the exhibits that you supplied
      6    purchase and sale.                                                    6 me today and the others that have been used today and it gave
      7      Q.    Okay. So, once again, the Town of Palm Beach was              7 you the authority to execute all of the closing documents on
      8    disclosed to the purchaser?                                           8 August 30th, 2013, for Palm House, LLC?
      9      A.    Yes.                                                          9      A. It gave me the authority to sign all of the documents
      10      Q.   And in paragraph 3, about, let's see, halfway down, 13        10 that I signed on August 30th, 2013.
      11   lines down where it starts the purchaser -                            11     Q.     Okay.
      12      A. Yes.                                                            12           MR. BURGER: I would object to the compound question
      13      Q.   Okay. First of all there's a reference there to a             13      but it was too easy.
      14 promissory note in favor of KK-PB Financial, LLC; is that               14           MR. DOMB: It was kind of ugly, wasn't it? I disagree
      15 correct?                                                                15     with you.
      16      A. Yes.                                                            16           THE WITNESS: I answered it beautifully.
      17      Q.   And so the purchaser at the time of the contemplated          17           MR. BURGER: You did. The answer was spectacular to a
      18   transaction understood that the promissory note was going to be       18      horrible question.
      19   in the name of KK-PB Financial, LLC and not Glenn Straub;             19 BY MR. DOMB:
      20   correct?                                                              20      Q.    Now you supplied in relation to the subpoena 8, copies
      21      A. Yes.                                                            21   of escrow account ledgers relating to the escrow funds pursuant
      22      Q.    And does this indemnification and right of set-off           22 to the escrow agreement dated August 30th, 2013. In that package
      23   require the purchaser to supply KK-PB Financial, LLC with             23 -- let's mark this.
      24 written demand for payment against the lender before they have a 24                  COURT REPORTER: This will be 10?
      25   right to set-off and deduct payment?                                  25           MR. DOMB: Yes.

                                                                       Page 50                                                            Page 52
      1      A.    It says after written demand for payment against lender       1           (THEREUPON, PLAINTIFF'S EXHIBIT NUMBER 10 WAS MARKED)
      2 - it's really not artful. I'm not -- I didn't draft this,                2           MR. BURGER: Hold on. I can'l see it.
      3 either.                                                                  3           THE WITNESS: I read better without my glasses.
      4       Q. Well, let me start with are you aware of Palm House,            4           MR. BURGER: It's going to be - they sent it over but
      5 LLC ever making written demand upon KK-PB Financial, LLC for any         5     it made it a privileged document?
      6    indemnification or set-off?                                           6           MR. DOMB: Huh?
      7       A.   I'm not aware of it. That doesn't mean that it didn't         7           MR. BURGER: It's a privileged document.
      8 happen but I'm not sure. I don't believe I'm aware of any                8           MR. DOMB: Let's get to that then.
      9 written demand.                                                          9           MR. BURGER: Okay.
      10      Q. At the what appears to be the next to the last sentence         10 BYMR. DOMB:
      11   where it starts the parties acknowledge --                            11     Q.    Let me show you what's been marked as 10 for
      12      A.   Uh-huh.                                                       12 identification and ask if you recognize it.
      13      Q. Can you read that?                                              13     A. Yes.
      14      A.   The parties acknowledge that Glenn Straub was                 14     Q.    How do you recognize it?
      15 personally liable for the representations and warranties made by        15     A. Because I sent it to you.
      16 the company under the agreement and that all such                       16     Q.    Okay. And is this an email from Bob Matthews to you?
      17 representations were made for the benefit of Palm House, LLC in         17     A. Yes.
      18 the exercise of its option to purchase all membership interests         18     Q.    And who is Bob Matthews in connection with this
      19 in the company.                                                         19 transaction?
      20      Q. Okay. Not KK-PB Financial, LLC; correct?                        20     A. He's Gerry - Gerry Matthews' brother.
      21      A. That's correct.                                                 21     Q.    And who are the members of Palm House, LLC?
      22      Q. All right. Let's do a couple of housekeeping things.            22     A. I believe Gerry Matthews and Ryan Black.
      23 Let me show you what's marked as exhibit 6 for identification           23     Q.    So Bob Matthews was not a member, manager or anything
      24    and ask if you recognize it?                                         24 relating to Palm House, LLC; is that correct?
      25      A.   Yes, I do.                                                    25           MR. BURGER: Objection.



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      1               THE WITNESS: Not to my knowledge.                              1 BYMR. DOMB:
      2    BYMR. DOMB:                                                               2      Q. All right. There are no other trust accounts that you
      3          Q. So then why is Bob Matthews directing you to wire                3 have where the purchaser would have sent you funds and you would
      4    $150,000.00 to NHCS?                                                      4 have disbursed funds, is that correct?
      5          A. There were certain times that his brother would just             5      A.     On this one, that's correct.
      6    say if Bob tells you to do something, basically, go along with            6      Q. And you have agreed to provide me with copies of your
      7    it.                                                                       7 bank statements as soon as you can that show the funds that you
      8          Q. Okay.                                                            8 received and the disbursements you made in connection with this
      9          A.    I guess you could say it was apparent authority.              9 transaction; correct?
     10          Q. Okay. Do you have anything in writing from Jerry                 10     A. Yes, but I can ask you to sort of give me a reference,
     11     (phonetic) Matthews or Ryan Black directing you to disburse              11   because there were different transactions, things came in? Can
      12 funds in accordance with Bob Matthews' directions?                          12 you be more specific? Do you want them from like August 1st to
      13         A.    No, but Ryan Black only owned one percent so I would          13 - to what date? I mean, I'd rather not go through all--
      14    never have really needed anything from him. And Gerry, it's              14 because there's different closings and different things that he
      15    Gerry, not Gerry. It's G-E-R-R-Y. It's pronounced funny. Gerry,          15 was involved with, that the parties may have been involved with
      16 basically, was the one who called the shots. It was not uncommon 16 in this type --
      17 for his brother to - to speak, for his brother, Bob, to speak               17     Q. Apparently so.
      18 on Gerry's behalf.                                                          18      A. - of an account. So I'd just -- I'd like to try to
      19         Q. So it was really Gerry --                                        19 limit it.
     20          A.    Yes.                                                          20      Q. I don't - I don't - at this time I'm not asking you
     21          Q. -- who was the member and the client; not Bob?                   21   for that information.
      22         A.    No, the client was Palm House. Gerry was the one who          22      A.     Okay.
      23    owned the majority.                                                      23      Q. Okay? I do reserve the right, however, at a later date,
      24         Q. Wasn't -- wasn't Ryan Black the managing member?                 24 if this doesn't get resolved, I want .- I'll want all of your
      25         A.    For a period of time he was.                                  25   records, every single receipt and disbursement relating to this

                                                                           Page 54                                                               Page 56
      1          Q. Okay. And when did that stop?                                     1 transaction. But as of right now I want you to provide me with
      2          A. Oh, it stopped once I became a managing member.                   2   your receipt of the first.funds for the deposit for this
      3          Q. And when did you become a managing member?                        3   transaction --
      4          A. The date was August 13th -- August 30th, 2013.                    4      A.     Uh-huh.
       5         Q. You were the managing member of Palm House, LLC on                5      Q. -- whenever that took place, okay, up until, I would
       6 August 30th, 2013?                                                           6   say, 90 days post-closing.
       7         A. Yes.                                                              7      A.     Uh-huh.
       8         Q. And why did you sign every document by Ryan Black,                8      Q. Okay? Relating to whether or not the funds were in your
       9 managing member, with your power of attorney?                                9   account, where they were and whether or not you ever disbursed
      10         A.    I may be mistaken. I signed it as power of attorney for       10 any funds relating to your escrow; okay? And I'm going to limit
      11    Ryan Black.                                                              11   it to that for right now.
      12         Q. Okay. So let's go back and see if we can clarify. When           12      A.     Okay. So 90 days -
      13 did Ryan Black cease being the managing member of Palm House,               13      Q. So that would be --
      14 LLC?                                                                        14      A.      it would be 90 days from the closing?
      15         A. I can't recall.                                                  15       Q. September, October - that would be November 30th.
      16          Q. When did you become the managing member of Palm House, 16               A.      Okay.
      17 LLC?                                                                        17       Q. Okay?
      18          A. I became the managing member on August 30th, 2013.              18       A.     Okay.
      19              THE WITNESS: Can we take a break for two minutes?              19             MR. DOMB: I'm done.
      20              MR. BURGER: Sure.                                              20                        CROSS· EXAMINATION
      21              COURT REPORTER: Okay. Are we off?                              21   BY MR. HANDLER:
      22              MR. BURGER: Yeah.                                              22       Q. Exhibit 5, Mr. Evans, is the power of attorney, I
      23              MR. DOMB: Sounds like a good idea.                             23 believe.
      24              (OFF THE RECORD)                                               24       A.     No, it's the escrow agreement.
      25              (BACK ON THE RECORD)                                           25       Q. I'm sorry.


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      1     A.        The specific power of attorney is 6.                            1      Q. To your knowledge did you take any action on behalf of
      2     Q. Okay. What is the date of that specific power of                       2 the buyer to attempt to cure the violations that were imposed by
      3 attorney?                                                                     3 the Town on the hotel?
      4     A.        It's dated August 30th, 2013.                                   4      A. Formally or informally?
      5     Q. To your knowledge is that the only power of attorney                   5      Q. Both.
      6 Ryan Black signed appointing you as his attorney-in-fact?                     6      A.   Informally, I think I may have spoken to some of the
      7     A. To my knowledge, yes.                                                  7 officials about the noise violation. There was an air
      8      Q. Was it your understanding that a limited power of                     8 conditioning unit that was making excessive noise and I know the
      9 attorney was limited?                                                         9 people in Town just to see what could be done with it.
      10     A.       I think all powers of attorney are limited.                     10          As far as the completion goes, I met with them with
      11     Q. By its own terms; right?                                              11   some other parties to try to see what could be done. There was
      12     A.       By its terms; that's correct.                                   12 certain things that were built, apparently, without permits and
      13     Q. What are the terms - what do you understand the terms                 13 I was there when there were some discussions going on. But I did
      14 of limitation to be under that power of attorney?                            14 that no on behalf of Mr. Straub, it would have been on behalf of
      15     A. It says here the power of attorney is specifically                    15 the buyer.
      16 limited to the above purposes and if not executed prior to                   16     Q. Did those activities which you just described occur
      17 September 5th, 2013, shall be revoked. So it had to do with to               17 post-closing?
      18 endorse, sign and seal all of these powers that it gave you and              18     A. Post-closing.
      19 then it said that if it wasn't closed on September 5th -- by                 19     Q. Were you practicing in Palm Beach at the time?
      20   September 5th, then it would be revoked.                                   20     A. Yes.
      21              So, therefore, it doesn't have a time period as the             21      Q. You live in Palm Beach?
      22 closing happened before September 5th. Some powers of attorney 22                   A. Yes.
      23 state its good up until a certain date; this doesn't have that               23      Q. Either by your residency in Palm Beach or your practice
      24 specific caveat.                                                             24 here, are you aware of any progress that Mr. Straub made on
      25     Q. Is it your understanding that this specific power of                  25 curing those existing problems with the Town of Palm Beach

                                                               Page 58                                                                               Page 60
       1 attorney pertains to the transaction by which you have been                   1 post-closing?
       2   questioned today?                                                           2     A.    I don't think he did anything, to my knowledge.
       3     A.        In part, yes.                                                   3          MR. HANDLER: I have no other questions.
       4     Q. Can you explain what other part?                                       4                     CROSS EXAMINATION
       5     A.        Well, it doesn't specifically state that it's just              5   BY MR. BURGER:
       6   then. It says to do all these things that are required if he was            6      Q. I just want to make sure. Exhibit 6, which is the power
       7   -- if Ryan Black was personally there. So it assumes with the               7   of attorney, you were paraphrasing but you were attempting to
       8   closing, if you take a look at the first paragraph, it says that            8 paraphrase from the last line of the third paragraph which
       9 I can sign on his behalf to contract for the purchase, receive                9 starts with this power of attorney is specifically?
      10   and take possession of to purchase, sell, exchange, grant or               10      A. Yes.
      11   convey with or without warranty to mortgage, transferring trust            11      Q. Okay. That's it. So you'll stand by as it reads?
      12 or otherwise encumber or apothacates (sic) any interest in the               12      A. Yes.
      13 property which was the subject -- so it's a pretty broad power               13           MR. BURGER: Okay. I have nothing further.
      14 of attorney.                                                                 14           MR. DOMB: Just one or two follow-ups.
      15         Q. Did you understand this power of attorney to invest you 15                              RE-DIRECT EXAMINATION
      16 with authority to try to cure any of the inability of the seller             16   BY MR. DOMB:
      17 under the escrow agreement to clear paragraphs three, four or 17                     Q. With respect to the violation, did you learn at some
      18 five on behalf of the buyer of the property? Three, four and                 18 point that in your investigation or your inquiries that the
      19   five have to deal with curing of the disputes with regards to              19 violation of $2,000.00 a day could not be halted until a CO was
      20   the-                                                                       20   issued to the property?
      21         A.     I don't believe it gave me the authority to clear out         21      A. I'm not sure if I learned of it, but I have that
      22   those par -- those violations, if that's what you're referring             22   general understanding from working with the Town that you
      23   to.                                                                        23   couldn't. I'm not sure if I heard specifically, but that's my
      24         Q. That's what I'm referring to.                                     24   understanding from working with the Town, yes.
      25         A.     Yes.                                                          25      Q. To the best of your knowledge, as you sit here today,


                                                                                                                             800.211.DEPO (3376)
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                                      68
     LESLIE ROBERT EVANS                                                                                                    October 19, 2015
     KK PB FINANCIAL vs. 160 ROYAL PALM                                                                                               61-64
                                                                   Page 61                                                                              Page 63
      1 has a CO ever been issued for the property?                          1                           CERTIFICATE OF OATH

      2       A.   I'm sure a CO has been issued for the property but not    2

      3 since - not since the purchase, no.                                  3

      4       Q. Since August 30th, 2013--                                   4        THE STATE OF FLORIDA

      5       A.   No, no.                                                   5       COUNTY OF PALM BEACH

      6       Q. -- that Palm House controlled 160 Royal Palm and the        6

      7 hotel did they ever complete construction and obtain a               7

      8 certificate of completion or certificate of occupancy?                8           I, THE UNDERSIGNED AUTHORITY, CERTIFY THAT LESLIE ROBERT

      9       A.   To my knowledge, no.                                       9   EVANS PERSONALLY APPEARED BEFORE ME AND WAS DULY SvlORN ON THE

      10           MR. DOMB: Thank you. That's it.                           10   19TH DAY OF OCTOBER, 2015.

      11           MR. HANDLER: I just want to make sure that on the         11

      12      record that this is without prejudice to -                     12           DATED THIS 29th DAY OF OCTOBER, 2015.
                                                                             13
                                                                                                                                                        ..
      13
      14
                   MR. BURGER: Our agree --
                   MR. HANDLER: -- our agreements of having a                14                  ~~ kfi\),'                 .          ~_"MS            :1
                                                                                                                                   ItbrJPlldl.IlIttOlRaIlfI
                                                                                                                                  ~cl/IIIIlI.r.,m~I"tI.2m

                                                                                                                        ~ e.!~m::.:::~
      15      continuation if we need to or a different depOSition of this   15                 LOUANNE RAWLS

      16      deponent.                                                      16                 NOTARY PUBLIC, STATE OF FLORIDA

      17           MR. DOMB: Absolutely.                                     17                 MY COMMISSION EXPIRES: 1/25/19

      18           MR. BURGER: Not that we don't like or want to see you     18                 COMMISSION NO.: FF 165101

      19       again, but--                                                  19

      20           THE WITNESS: This is a lot of fun.                        20

      21           COURT REPORTER: Read or waive?                            21

      22           MR. DOMB: Why don't you give him the -                    22

      23           COURT REPORTER: Would you like to read or waive?          23

      24           MR. BURGER: I think you should read.                      24

      25           THE WITNESS: I'll read.                                   25


                                                                   Page 62                                                                               Page 04
       1      (DEPOSITION WAS ADJOURNED)                                      1                          CERTIFICATE

       2                                                                      2
                                                                                          I, LOUANNE RAWLS, Notary Public in and for the State of
       3
                                                                              3   Florida at Large, do hereby certify that I was authorized to and
       4
                                                                                  did digitally report said deposition and that the foregoing
       5
                                                                              4   pages are a true and correct transcription of my notes of said
       6                                                                          deposition.
       7                                                                      5
       8                                                                      6           I further certify that said deposition was taken at the

          9                                                                       time and place herein above set forth and that the taking of
                                                                              7   said deposition was commenced and completed as herein above set
      10
                                                                              8   out.
      11
                                                                              9
      12                                                                     10
      13                                                                     11           I further certify that I am not an attorney or counsel
      14                                                                     12   of any of the parties, nor am I a relative or employee of any

      15                                                                     13   attorney or counsel of party connected with the action, nor am I
                                                                             14   financially interested in this action.
      16
                                                                             15
      17
                                                                             16
      18
                                                                             17           The foregoing certification of this transcript does not
      19                                                                     18   apply to any reproduction of the same by any means unless under
      20                                                                     19   the direct control and/or direction of the certifying reporter.
      21                                                                     20
                                                                             21
      22
      23
                                                                             22
                                                                             23
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                                                                                           ,  lith day~
                                                                                                    "    ~-!LA
      24                                                                                   \II' , - - - -            ...,.
                                                                             24
      25                                                                     25           LOUANNE RAWLS, tJ0223460



                                                                                                                     800.211.DEPO (3376)
                                                                                                                     EsquireSolutions.com
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     LESLIE ROBERT EVANS                                                         October 19,2015
     KK PB FINANCIAL vs. 160 ROYAL PALM                                                    65-66
                                                                    Page 65
      1    DEPOSITION ERRATA SHEET
      2
      3    Our Assignment No.     J0223460
      4    KK-PB FINANCIAL, LLC
      5
       6   vs.
       7
       8   160 ROYAL PALM, LLC and PALM
       9   HOUSE HOTEL, LLP
      10
      11                  DECLARATION UNDER PENALTY OF PERJURY
      12
      13         I declare under penalty of perjury that I have read the
      14   entire transcript of my Deposition taken in the captioned matter
      15   or the same has been read to me, and the same is true and
      16   accurate, save and except for changes and/or corrections, if
      17   any, as indicated by me on the DEPOSITION ERRATA SHEET hereof,
      18   with the understanding that I offer these changes as if still
      19   under oath.
      20
      21          Signed on the _ _ day of _ _ _ _ _, 2015.

      22
      23                               LESLIE ROBERT EVANS
      24
      25


                                                                    Page 66
       1                                DEPOSITION ERRATA SHEET
       2
       3    Page NO. _ _Line NOo _ _ change to, _ _ _ _ _ __
       4
       5    Reason for change' _ _ _ _ _ _ _ _ _ _ _ _ _ __

       6    Page No.          Line No. _ _Change to, _ _ _ _ _ __
       7
       8    Reason for change: _ _ _ _ _ _ _ _ _ _ _ _ _ __

       9    Page NO. _ _Line No. _ _Change to, _ _ _ _ _ __
      10
      11    Reason for change' _ _ _ _ _ _ _ _ _ _ _ _ _ __

      12    Page NO. _ _ Line No. _ _Change to, _ _ _ _ _ __
      13
      14    Reason for change' _ _ _ _ _ _ _ _ _ _ _ _ _ _ ____
      15    Page No.          Line No. _ _Change to, _ _ _ _ _ __

      16
      17    Reason for change' _ _ _ _ _ _ _ _ _ _ _ _ _ _ ____
      18    Page NOo _ _Line NOo _ _ Change to, _ _ _ _ _ __
      19
      20    Reason for change' _ _ _ _ _ _ _ _ _ _ _ _ _ __

      21
      22
      23    SIGNATURE , _ _ _ _ _ _ _ _ _ _ _ _DATE , _ _ _ ___

      24                 LESLIE ROBERT EVANS
      25



                                                                              BOO.211.DEPO (3376)
                                                                              EsquireSolutions.com
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                                         PROMISSORY NOTE
                                     ~THBALLOONPAYMENT


  Date: August 30, 2013                                       Date of Maturity: August 30,2018

         FOR VALUE RECEIVED, 160 ROYAL PALM, LLC, a Florida limited. liability
  ("Borrower") promises to pay to the order of KK-PB FINANCIAL, LLC, a Florida limited liability
  company ("Lender"), at J 1198 Polo Club Road Wellington, Florida 33414, or at such other place or
  places as the holder of this Note from time to time may designate in writing, the principal sum of
  TWENTY SEVEN Mll...LIONFOUR HUNDRED SIXTY EIGHT THOUSAND SEVEN HUNDRED
  FIFTY AND 001100 DOLLARS ($27,468,750.00) in lawful money ofthe United States (theI'Loan"),
  together with interest in like lawful money from the date funds are advanced under this Note at the
  applicable annual rate set forth below, to be computed on the basis of the actual number of days elapsed
  and a year of 360 days.

         1.      PAYMENTS. Borrower shall pay the interest and principal of this Notein accordance
  with the following:

                 a. Initial Rate. Interest shall accrue at the Prime Rate, plus two percent (2%). per
  annum, but in no event less that six percent (6%) on TWENTY SEVEN MILLION FOUR HUNDRED
  SIXTY EIGHT THOUSAND SEVEN HUNDRED FIFTYAND 00/100 DOLLARS ($27,468,750.00).
  The "Prime Rate" shall mean the "prime rate" as published in www.bloomberg.com. ori if no
  longer published as such, the rate of interest announced from time to time by Bank of America,
  N.A., as its prime rate, base rate or reference rate. Ifwww.bloomberg.compublishes more than
  one "prime rate", then the PrUne Rate shall be the average of such rates. The interest rate shall be
  adjusted every six (6) months for the life of the Loan.

                 b. Amortization of Principal and Payments. Purchaser's loan repayments shall be
  calculated based-opon a ten {10} year amortization schedule. Interest shall be waived (and not
  accrue) for the period from August 30,2013' through October 31,2014 and no principal or interest
  payments shall be due until November 1, 2014. Monthly principal and interest payments shall
  commence on November 1, 2014; and a balloon payment shall be due from Purchaser on the
  Maturity Date (August 30, 2018).

   .             c.Pa)!ments. If any payment falls due on a day other than a day on which banks in
  Miami, Florida are open for business (a "Business Day"), then such payment shall instead be made on
  the next succeeding Business Day, and interest shall accrue accordingly. Any payment received by
  Lender after 5:00 p.m. shall not be credited against the indebtedness under this Note until at least the
  next succeeding Business Day.

           2.      SECURITY INTEREST. As security for the payment of this Note, and any renewals.
  extensions or modifications hereof, and any other liabilities, indebtedness or obligations of Borrower to
  Lender, however or whenever created. Borrower hereby grants to Lender a security interest in any and
  all collateral pledged to the Lender as set forth below and any and all other collateral now or hereafter
  pledged to the Lender pursuant to a security agreement which provides for such security interest




                ----._---------_._------._-_.. _ - -
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  Florida Real Estate Mortgage, Assignment of Leases and Rents and Security Agreement (the
  "Mortgage") of even date herewith executed by Borrower, in favor of Lender encumbering real estate
  situate in Palm Beach County, Florida, more particularly described as follows:

          Lots 31, 32 and 33, BlockF of REVISED MAP OF ROYAL PARK ADDITION
          TOPALM BEACH, FLORIDA, according to the Plat thereof as recorded in Plat
          Book 4, Page(s) l,ofthePublicRecords of Palm Beach County, Florida.

           3. EXCULPATION

                  a. Borrower's Liability to Lender. Notwithstanding anything to thecontrarycontained
  herein, and except as otherwise provided in subsections (b) and (c) below, Lender shall not enforce the
  liability and obligation of Borrower to perform and observe the obligations contained in this Note or the
  Mortgage by any action or proceeding wherein a money judgment shall be sought against Borrower,
  except that Lender may sell the Property under any power of sale or right of non-judicial foreclosure or
  bring a foreclosure action, confirmation action, action for specific performance or other appropriate
  action or proceeding to enable Lender to enforce and realize upon this Note; the Mortgage, the other
  LOan Documents, and the interest in the Property, the rents and any other collateral given to Lender
  created by this Note, the Mortgage and the other Loan Documents; provided, however, that any
  judgment in any such action or proceeding shall be enforceable against Borrower only to the extent of
  Borrower's interest in the Property, in the rents and in any other collateral given to Lender. Lender; by
  accepting this Note and the Mortgage, agrees that it shall not, except as otherwise provided in
  subsections (b) and (c) below, sue for, seek or demand any deficiency judgment against Borrower in any
  such action or proceeding, under or by reason of or under or in connection with this Note, the other
  Loan Documents or the Mortgage. The provisions of this Section 3 shall not, however, (i) constitute a
  waiver,release or impairment of any obligation evidenced or secured by this Note, the other Loan
  Documents or the Mortgage; (ii) impair the right of Lender to name Borrower as a party defendant in
  any action or suit for judicial foreclosure and sale under the Mortgage; (iii) affect the validity or
  enforceability of any indemnity, guaranty, master lease or similar instrument made in connection with
   this Note, the Mortgage, or the other Loan Documents; (iv) impair the right of Lender to obtain the
   appointment of a receiver; (v) impair the enforcement of the Assignment of Leases and Rents executed
  in connectlonherewith; (vi) impair the right of Lender to obtain a deficiency jUdgment or judgment on
  the Note against Borrower if necessary to obtain any insurance proceeds or condemnation awards to
   which Lender would otherwise be entitled under the Mortgage; provided however, Lender shall only
   enforce such judgment against the insurance proceeds andlor condemnation awards; or (vii) impair the
   right of Lender to enforce the provisions of Sections 13 & 14 of the Mortgage.

           (b)

          Notwithstanding the foregoing, the agreement of Lender not to pursue recourse liability asset
  forth in Subsection (a) above SHALL BECOME NULL AND VOID and shall be of no further force and
  effect (i) if the Property or any part thereof shall become an asset in (1) a voluntary bankruptcy or
  insolvency proceeding, or (2) an involuntary bankruptcy or insolvency proceeding (A) which is
  commenced by any party controlling, controlled by or under common control with Borrower (which
  shall include, but not be limited to, any creditor or claimant acting in concert with Borrower or any of
  1#236S730v2
                                                      2
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   the foregoing parties) (the ''Borrowing Group") or (B) in which any member of the Borrowing Group
   objects to a motion by Lender for relief from any stay or injunction from the foreclosure of the
   Mortgage or any other remedial action permitted hereunder or under the Mortgage or the other Loan
   Documents or (ii) if a court of competent jurisdiction holds that the granting, execution or deli very of
   the Mortgage or any other Loan Documents is or constitutes a fraudulent conveyance under any
   bankruptcy, insolvency or fraudulent conveyance law or is otherwise voidable under any such laws.

            (c)   Nothing herein shall be deemed to be a waiver of any right which Lender may have under
   Sections 506(a), 506(b), 11 11 (b) or any other provisions of the U.S. Bankruptcy Code to file a claim for
   the full amount of the Loan or to require that all collatenil shall continue to secure all of the obligations
   owing to Lender in accordance with this Note, the Mortgage and the other Loan Documents.

            4.      MAXIMUM INTEREST RATE. In no event shall any agreed or actual exaction
   charged, reserved or taken as an advance or forbearance by Lender as consideration for the Loan exceed
   the limits (if any) imposed or provided by the law applicable from time to time to the Loan forthe use
   or detention of money or for forbearance. in seeking its collection, and Lender hereby waives any right to
   demand such excess. In the event that the interest provisions of this Note or any exactions provided for
   in this Note or any other Loan Document (as defined in Section 5 of this Note) shall result at any time or
   for any reason in an effective rate of interest that transcends the maximum interest rate permitted by
   applicable law (if any). then without further agreement or notice the obligation to be fulfilled shall be
   automatically reduced to such limit and all sums received by Lender in excess of those lawfully
   collectible as interest shall be applied against the principal of the Loan immediately upon Lender's
   receipt thereof, with the same force and effect as though the payor had specifically designated such extra
   sums to be so applied to principal and Lender had agreed to accept such extra payments(s) asa
   premium-free prepayment or prepayments. During any time that the Loan bears interest at the
   maximum lawful rate (whether by application of this paragraph, the Default Rate provisions ofthisNote
   or otherwise), interest shall be computed on the basis of the actual number of days elapsed and the
   actual number of days in the respective calendar year. Pursuantto Florida Statutes, Section 687.12, the
   interest rate charged is authorized by Florida Statutes, Chapter 665.

           5.      EVENTS OF DEFAULT The entire unpaid principal balance of the Loan, together
   with all unpaid interest accrued thereon and any and all other sums that may be owing under this Note
   or any other instrument or document executed by Borrower in connection with the Loan (this Note and
   all such instruments and documents, including, without limitation, any guaranties, agreements,
   undertakings, contracts, mortgages, security agreements, assignments and other documents executed to
   secure the Loan being referred to in this Note as the "Loan Documents"), shall at the option of Lender
   become immediately due and payable without notice or demand upon the occurrence of anyone or more
   of the following events ("Events of Default"), regardless of the cause thereof and whether within or
   beyond the control of Borrower: (a) the failure of Borrower to pay any sum due under this Note within
   fifteen (15) days after the due date therefor, or the fa.ilure of Borrower to pay any other sum when due
   under any other Loan Document (and the expiration of any applicable grace period provided in such
   Loan Documentforthat payment); or (b) the occurrence of any other default (whether concerned with
   the payment of money or otherwise) under any Loan Document, and the expiration of any applicable
   grace period provided in such Loan Document for the cure of that failure or default.

            6.      LATE PENALTY AND DEFAULT RATE OF INTEREST. Borrower shall pay to
   #2365730 v2
                                                         3



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  Lender a late charge oHive percent (5%) of any payment not received by Lender within fifteen (15)
  days of its due date (excluding any payment due at maturity); provided, however, if said fifteen (15) day
  period ends on a day other thana Business Day, then the aforedescribed late charge shaH be payable if
  the payment is not received by the first Business Day after said fifteen (15) day period. At Lender's sale
  option the entire unpaid principal balance of the Loan and any other sums owing under any Loan
  Document shall bear interest until paid at an augmented annual rate (the "Default Rate") from and after
  the occurrence and during the continuation of any Event of Default,regardless of whether Lender also
  elects to accelerate the maturity of the Loan; provided, however,that after judgment all such sums shall
  bear interest at the greater of the Default Rate or the rate prescribed by applicable law for judgments. At
  Lender's sole option, all interest which accrues at the Default Rateshall be due and payable on Lender's
  demand from time to time, but absent such demand shall be due and payable on the regularly scheduled
  dates for interest payments under this Note. TheDefault Rate shall equal ten percent (10%).

           7.      RIGHTS AND REMEDmS OF LENDER. Subject to the limitations and provisions
  of Article 4. hereof, Lender shall be entitled to pursue any and all rights .and remedies provided by
  applicable law and/or'under the terms of this Note cir any other Loan Document, all of which shall be
  cumulative and may be exercised successively or concurrently. Upon the occurrence and during the
  continuation of any Event of Default, Lender, at its option, may at any time declare any or all other
  liabilities of Borrower to Lender immediately due and payable (notwithstanding any contrary provisions
  thereot) without demand or notice of any kind. Lender's delay in exercising or failure to exercise any
  rights or remedies to which Lender may be entitled ifmiyEvent of Default occurs shaIlnot constitute a
  waiver of any rights or remedies of Lender with respect to that or any subsequent Event of Default.
  whether of the same or a different nature, nor shall any single or partial exercise of any right or remedy
  by Lender preclude any other or future exercise of that or'any other right or remedy. No waiver of any
  right or remedy by Lender shall be effective uriless made in writing and signed by Lender nor shall any
  waiver oil one occasion apply to any future occasion, but shall be effective only with respect to the
  specific occasion addressed in that SIgned writing.

           8.      WAIVER AND CONSENT. Borrower hereby: (a) waives demand, presentment,
  protest, notice of dishonor, suit against or joinder of any other person, and all other requirements
  necessary to charge or hold Borrower liable with respect to the Loan; (b) waives any right to immunity
  from any such action or proceeding and waive any immunity or exemption of any property, wherever
  located, from garnishment,levy, execution, seizure or attachment prior to or in execution of judgment,
  or sale under execution or other process for the collection of debts; (c) intentionally emittea; t~ submits
  to the jurisdiction of the state and federal courts in the State of Florida for purposes of any such action
  or proceeding (de) agrees that the venue of any such action or proceeding may be laid in Palm Beach.
  County (in addition to any county in which any collateral for the Loan is located) and waives any claim
  that the same is an inconvenient forum; and (ef) stipulates that service of process in any such action or
  proceeding shall be properly made if mailed by any form of registered or certified mail (airmail if
   international). postage prepaid, to the address set forth herein or then registered in Lender's records for
  Borrower and that any process so served shall be effective ten (10) days after mailing. No provision of
   this Note shall Iimit.Lender's right to serve legal process in any other manner permitted by law or to
   bring any such action or proceeding in any other competent jurisdiction. Borrower hereby consents and
   agrees that, at any time and from time to time without notice, (i) Lender and the owner(s) of any
   collateral then securing the Loan may agree to release, increase, change, substitute or exchange all or
   any part of such collateral, and (ii) Lender and any person(s) then primarily liable for the Loan may
   #2365730 v2
                                                       4



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  agree to renew, extend or compromise the Loan in whole or in part or to modify the terms of the Loan in
  any respect whatsoever, no such release, increase, change, substitution, exchange, renewal extension,
  compromise or modification shall release or affectin any way the liability of Borrower, and Borrower
  berebywaives any and all defenses and claims whatsoever based,thereon. Until Lendeneceives all
  sums due under this Note and all other Loan Documents in immediately available funds, Borrower shall
  not be released from liability with respect to the Loan unless Lender expressly releases Borrowedn a
  writing signed by Lender, and Lender'srelease of Borrower shall notrelease any other person liable with
  respect to the Loan.

          9.       COSTS, INDEMNITIES AND EXPENSES. Borrower agrees to pay all filing fees
  and similar charges and all reasonable costs incurred by Lender in collecting or securing or attempting
  to collect or secure the Loan and such right shall extend beyond the entry of a Final Judgment including
  attorneys! fees, whether or not involving litigation andlor appellate, administrative or bankruptcy
  proceedings. Such entitlement or attorneys' fees shall not merge with the entry of a Final Judgment and
  shall continue post-judgment unless andlor until anyand all indebtedness due Lender is fully satisfied.
  Borrower agrees to pay any documentary stamp taxes, intangible taxes or other taxes (except forJederal
  or.Florida franchise or income taxes based on Lender's net income) which may now or hereafter apply to
  this Note or the Loan or any security therefor, and Borrower agrees to indemnify and hold Lender
  harmless from andagainst any liability, costs, attorneys' fees, penalties, interest or expenses relating to
  any such taxes, as and when the same may be incurred. Borrower agrees to pay on demand, and to
  indemnify and hold Lender harmless from and agains4 any and all present or future taxes, levies,
  imposts, deductions, charges and withholdings imposed in connection with the Loan by thelaws or
  governmental authorities of any jurisdiction other than the State ofFlorida or the United States of
  America, and all payments to Lender under this Note shall be.madeJreeand clear thereof and without
  deduction therefor.

          10.    GOVERNING LAW. This Note shall be governed by, and construed and enforced in
   accordance with the laws oftheState of Florida, except that federal law shall govern to the extent that it
   may permit Lender to charge, from time to time, interest on the Loan at a rate higher than may be
   permissible under applicable Florida law.

           11.      INVALIDITY. Any provision of this Note which is prohibited or unenforceable in any
  jurisdiction shall, as to such jurisdiction only be ineffective only to the extent of such prohibition or
                                                  t

  unenforceability without invalidating the remaining provisions hereof or affecting the validity or
  enforceability of suchprovisioI'i in any other jurisdiction. To the extent that Borrower may lawfully
  waive any law that would otherwise invalidate any provision of this Note. ithereby waives the same,to
  the end that this Note. shall be valid and binding and enforceable against Borrower in accordance with
  all of its terms.                                 .

          12      INTERPRETATION. If this Note is signed by more than one person, then the term
   "Borrower" as used in this Note shall refer to all such persons jointly and severally, and all promises,
   agreements, covenants, waivers, consents, representations, warranties and other provisions in this Note
   are made by and shall be binding upon each and every undersigned person, jointly and severally. The
   term "Lender" shall be deemed to include any subsequent holder{s) of this Note. Whenever used in this
   Note, the term "person" means any individual, firm, corporation, trust or other organization or
   association or other enterprise or any governmental or political subdivision, agency, department or
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                                                       5



            - - - . ---   --~----""------------                      .-----.----- - _ . - - - - - - - -         >--   -~-
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  instrumentality thereof. Whenever used in this Note, words in the singular include the plural, words in
  the plural include the singular, and pronouns of any gender include the other genders, all as may be
  appropriate. Captions and paragraph headings in this Note are for convenience only and shall not affect
  its interpretation.

          13~MISCELLANEOUS. Time shall be of the essence with respect to the terms of this
  Note. This Note cannot be changed or modified orally. Except as otherwise required by Jawor by the
  provisions of thisNote or any other Loan Document, payments received by Lender hereunder shall be
  applied first against expenses and indernnities~ next against interest accrued on the Loan; next in
  reduction of the outstanding principal balance of the Loan. Borrower shall receiV'e immediate credit on
  payments only ifmadein the form of either a federal wire transfer of clearedJunds or a checkdrawn on
  an account maintained with Lender containing sufficient available funds. Otherwise, Borrower shall
  receive credit on payments after clearance, which shall be no sooner than the first Business Day after
  receipt of payment by Lender. ,For purposes of determining interest accruing under this Note, principal
  shall be deemed outstanding onthe date paymentis credited byLender (butinterest shall begin accruing
  on November 1,2014). Except as otherwise required by the provisions of this Note or any other Loan
  Document, any notice required to be given to Borrowershallbe deemed sufficient if made. personally or
  if mailed, postage prepaid. to Borrower' saddress as it appears in this Note (or, if none appears, to any
  address for Borrower then registered in Lender's records) and shall be deemed given upon receipt or
  rejection. All of the terms of this Note shall inure to the benefit of Lender and its successors and assigns
  and shall be binding upon Borrower and its heirs, executors, administrators,personal representatives,
  successors and assigns, jointly atidseverally.

       14.   WAIVER OF JURY TRIAL. LENDER, BY ITS ACCEPTANCE OF THIS NOTE,
  AND BORR()WER HEREBY KNOWINGLY , VOLUNTARILY ANDlNTENTIONALLY WAIVE
  THE RIGHT EITHER MAY HAVE TO TRIAL BY JURY IN RESPECT TO ANY LITIGATION
  BASED HEREON, OR ARISING OUT OF, UNDER OR IN CONNECTION WITH THIS NOTE AND
  ANY AGREEMENT CONTEMPLATED TO BE EXECUTED IN CONJUNCTION HEREWITH,OR
  ANY COURSE OF CONDUCT, COURSE OF DEALING. STATEMENTS,(WHETHER VERBAL
  OR WRITTEN) OR ACTIONS OF EITHER PARTY. BORROWER ACKNOWLEDGES THAT
  THIS WAIVER OF JURY TRIAL IS A MATERIAL INDUCEMENT TO THE LENDER IN
  EXTENDING CREDIT TO THE BORROWER, THAT THE LENDER WOULD NOT HAVE
  EXTENDED SUCH CREDIT WITHOUT THIS JURY TRIAL WANER. AND THAT BORROWER
  HAS BEEN REPRESENTED BY AN ATTORNEY OR HAS HAD AN OPPORTUNITY TO
  CONSULT WITH AN ATTORNEYIN CONNECTION WITH THIS JURY TRIAL WAIVER AND
  UNDERSTANDS THE LEGAL EFFECT OF THIS WAIVER.

          The Borrower has subscribeditsname to the respective Loan Documents (as defined in Section
  5 of this Note) without condition that anyone else should sign the same or become bound thereunder,
  and without any other condition whatsoever. The failure of any witness to sign as witness orthe failure
  of thisN ote to be notarized shall hot affect the validity of this Note. This Note is signed, sealed and
  delivered as of the date first written above.




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  THE MONEY AND CREDIT RECEIVED BY BORROWER lNEXCHANGE FOR THIS NOTEIS
  BElNGUSED FOR A BUSlNESS OR COMMERCIAL PURPOSE.

  DOCUMENTARY STAMP TAX IN THE AMOUNT OF $                HAS BEEN PAID
  AND AFaXED TO THE MORTGAGE SECURlNG TfITS PROMISSORY NOTE.


                                          BORROWER:

                                          160 ROYAL PALM,LLC, a Florida limited
                                          liability

                                          By: Palm House, LLC, its sole member




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         Craig T. Galle. Esq,                                                   AliT 27,468,750.00
         THE GALLE LAW GROUP, P.A.
                                                                                Deed DDC 96,140.80
         13501 South Shore. Blvd.
         Suite 103
                                                                                Intang 54,937.50 '
         Wellington, FL 33414
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         __________________            ~I

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                             FLORIDA REAL ESTATE MORTGAGE, ASSIGNMENT
                             OF LEASES AND RENTS AND SECURITY AGREEMENT

                 THIS FLORIDA REAL ESTATE MORTGAGE, ASSIGNMENT OF LEASES AND RENTS
         AND SECURITY AGREEMENT (the "Mortgage") is made and .entered into as of the ~}!;;- day of
         August, 2013, 160 ROYAL PALM, LLC, a Florida limited liability company (the "Mortgagor"),
         whose address is 2200 Biscayne Boulevard, Miami, Florida 33137 and KK-PB FINANCIAL, LLC,· a
         Florida limited liability company (the "Mortgagee"), whose address is: 13501 South Shore Boulevard,
         Suite 103, Wellington, Florida 33414.



                 WHEREAS, Mortgagor is justly and lawfully indebted to Mortgagee in the sum of TWENTY
         SEVEN Million FOUR HUNDRED SIXTY EIGHT Thousand SEVEN HUNDRED FIFrY and 00/100
         U.S. Dollars ($27,468,750.00) (the "Loan"). asevideqced by one certain Promissory Note executed by
         Mortgagor payable to the order of Mortgagee (the "N6te"), bearing the same date as this Mortgage and to
         be paid according toits terms; and       . , ..'         .

                 WHEREAS, Mortgagor and all makers, endorsers, sureties, guarantors, accommodation parties
         and all persons liable or to become liable with respect to the Loan are each included in the term
         "Obligor" as used in this Mortgage;

                 NOW, THEREFORE, to secure the payment of the Loan and such future or additional advances
         as may be made by Mortgagee, at its option and for any purpose, to Mortgagor or Mortgagor's permitted
         successor(s) in title, provided that all those advances are to be made within five (5) years from the date of
         this Mortgage (the total amount of indebtedness secured by this Mortgage may decrease or increase from
         time to time, but the total unpaid balance so secured at anyone time shall not eKceed twice the original
         principal amount of the Loan, plus interest and any disbursements made for the payment of taxes, levies
         or insurance on the property covered by the lien of this Mortgage with interest on those disbursements),
         and to secure the full and faithful performance. of the covenants and agreements contained in the Note,
         this Mortgage and all other instruments and documents eKecuted in connection with the Loan by
         Mortgagor and/or any other Obligor (the "Loan Documents"), Mortgagor hereby grants, bargains, sells,
         conveys, assigns, transfers, mortgages, pledges, delivers, sets over, warrants and confinns to Mortgagee,
         and grants Mortgagee a security interest in:

                 All those certain lots, pieces, or parcels of land as herein after described and lying and being in,
         Palm Beach County, Slate of Florida, (the"Property"), together with the buildings and improvements
         now or hereafter situated thereon, said land being legally described as follows:

                 Lots 31. 32 and 33, Block F of REVISED MAP OF ROYAL PARK ADDmON
                 TO PALM BEACH. FLORIDA.          according to the Plat thereof as recorded in Plat
                 Book 4. Page(s) l,ofthe Public Records of Palm Beach County, Florida.
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            TOGETHER WITH all and singular the tenements, hereditaments, easements, riparian rights and
    other rights now or hereafter belonging or appurtenant to the Property, and the rights (if any) in all
    adjacent roads, ways, streams, alleys, strips and gores, and the reversion or reversions, remainder and
    remainders, rents, issues and profits thereof, and all the estate, right, title, interest,property, claim and
    demand whatsoever of Mortgagor of,. in and to the same and every part and parcel thereof;

               TOGETHER WITH any and all tangible property (collectively, the "Personal Property") now or
     hereafter owned by Mortgagor and now or hereafter located at, affixed to, placed upon or used in con-
    -nection with the Property or any present or future improvements thereon, including without limitation: all
     machinery, equipment, appliances, fixtures, conduits and systems for generating or distributing air, water,
     heat, air conditioning, electricity, light, fuel or refrigeration, or for ventilating or sanitary purposes, or for
     the exclusion of vermin or insects, or for the removal of dust, refuse. sewage or garbage, or for fire
     prevention or extinguishing; all motors, engines, generators, compressors, pumps, lift stations, tanks,
     boilers, water heaters,furnaces and incinerators; all furniture, furnishings,. fixtures, appliances,
     installations, partitions,shelving, cabinets, lockers, vaults and wall safes; all carpets,carpeting, rugs,
     under padding, linoleum, tiles, mirrors, wall coverings, windows, storm doors, awnings, canopies, shades,
     screens, blinds, draperies and related hardware, chandeliers and light fixtures; all plumbing, sinks, basins,
     toilets, faucets, pipes, sprinklers, disposals, laundry appliances and equipment, and kitchen appliances and
     equipment; all alarm, safety, electronic, telephone, music, entertainment and communications equipment
     and systems; all janitorial,maintenance, cleaning, vacuuming, landscaping, and recreational equipment
     and supplies; arid any other items of property, wherever kept or stored, if acquired by Mortgagor with the
     intent of incorporating them in andlor using them in connection with the Property or any improvements to
     the Property; together also with all additions thereto and replacements and proceeds thereof (Mortgagor
     hereby agreeing, with respect to all additions and replacements and proceeds. to execute and deliver from
     time to time such further instruments as may be requested by Mortgagee to confirm their inclusion
     herein); all of which foregoing items described in this paragraph are hereby declaredtobe part of the real
    estate and encumbered by this Mortgage;

              TOGETHER WITH (a) any and all awards or payments, including interest thereon and the right
    to receive the same, growing out of or resulting from any exercise of the power of eminent domain
    (including the taking of all or any part of the Premises, as defined hereinafter), or any alteration of the
    grade of any street upon which the Property abuts, or any other injury to. taking of, or decrease in the
    value of the Premises or any part thereof; (b) any unearned premiums on any hazard. casualty, liability, or
    other insurance policy carried for the benefit of Mortgagor andlor Mortgagee with respect to the Premises
    (as defined hereinafter); (c) all rights of Mortgagor in and io all supplies and materials delivered to or
    located upon the Property or elsewhere and used or usable in connection with the construction or
    refurbishing of improvements on the Property; and (d) all rights of Mortgagor in, to, under, by virtue. of,
    arising from or growing out of any and all present or future contracts, instruments, accounts, insurance
    policies, permits, licenses, trade names, plans, appraisals, reports. paid fees, choses-in-action, subdivision
    restrictions or declarations or other intangibles whatsoever now or hereafter dealing with, affecting or
    concerning the Property, the improvements thereto, or any portion thereof or interest therein, including
    but not limited to: (i) all contracts, plans and permits for or related to the Property or its development or
    the construction or refurbishing of improvements on the Property, (ii) any agreements for the provision of
    utilities to the Property, (iii) all payment, performance andlor other bonds related to the Property, (iv) any
    contracts now existing or hereafter made for the sale by Mortgagor of all or any portion of the Property,
    including any deposits paid by any purchasers (howsoever such deposits may be held) and·any.proceeds
    of such sales contracts, including any purchase-money notes and mortgages made by such purchasers, and
    (v) any declaration of condominium, restrictions, covenants,easements or similar documents now or
    hereafter recorded against the title to all or any portion of the Property.



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             TOGETHER WITH all of Mortgagor's rights to enter into any lease or lease agreement regarding
    all or any part of the Property, and all of Mortgagor's rights to encumber the Property further for debt,
    Mortgagor hereby (a) representing as a special inducement to Mortgagee to make the Loan that, as ofthe
    date hereof, there are no encumbrances to secure debt prior or junior to this Mortgage, and (b)
    covenanting that there are to be none as of the date when this Mortgage is recorded;

             TO nAVE AND TO HOLD the above-described and granted property, appurtenances and rights
    (referred to collectively in this Mortgage as the "Premises") unto Mortgagee in fee simple forever.

            PROVIDED, HOWEVER, that these presents are upon the condition that if Mortgagor (a) shall
    payor cause to be paid to Mortgagee the principal and all. interest payable in respect of the.Loan and any
    future advance made under this Mortgage and any other sums secured by this Mortgage, at the time anelin
    the manner stipulated in the Note or this Mortgage or any other Loan Document, all without any
    deduction or credit for taxes or other similar charges paid by Mortgagor, (b) shall punctually perform,
    keep and observe all and singular the covenants and promises in the Note and any future advance
    agreement(s), in any renewals, extensions or modifications thereof, and in this Mortgage or any other
    Loan Docurnent expressed to be performed, kept and observed by and on the part of Mortgagor, and (c)
    shall not permit or suffer to occur any default under this Mortgage or any other. Loan. Document and not
    cure same within any applicable cure or notice period, then this Mortgage and alt the interests and rights
    hereby granted, bargained, sold, conveyed, assigned, tmnsferred, mortgaged, pledged, delivered, set over,
    warranted and confirmed shall cease, terminate and be void, but shall otherwise remain in full force and
    effect.

            Mortgagor covenants and agrees With Mortgagee as follows:

            1.      Mortgagor shall pay all sums due Mortgagee at. the time and in the manner provided in
     the Note, this Mortgage, any other Loan Document or any instrument eVidencing a future advance, and
     Mortgagor shall otherwise perform, comply with and abide by each and everyone of the stipulations.
     agreements, conditions and covenants contained in the Note, this Mortgage or nnyother Loan Document.

             2.     Mortgagor shall pay· all taxes and assessments (whether general or special) levied.
    assessed. placed or made against all or any part of the Premises or any interest of Mortgagee therein, or
    against the Note. this Mortgage, any Loan Document or any obligation thereunder, Mortgagor shall make
    such payment in full (and shall deliver: to Mortgagee the paid receipts) upon the same first becoming due
    and payable. If Mortgagor shall fail. neglect or refuse to pay any such taxes and as aforesaid. then
    Mortgagee at its option, within thirty (30) days prior notice,. may pay the same, and any funds so
    advanced by Mortgagee shall bear interest, shall be paid and shall be secured as provided in Paragraph 13.

             3.      (a) Mortgagor shall maintain property insurance with an insurance company or
    companies licensed in Florida. covering any and all buildings and improvements now or hereafter located
    on the Property; for an amount not less than $2.000,000, for the benefit of Mortgagor and Mortgagee as
    their interests may appear; Regardless of the types or amounts of insurance required and approved by
    Mortgagee, Mortgagor shall assign and deliver to Mortgagee all policies of insurance which insure
    against any loss or damage to the Premises or any part thereof, as collateral and further security for the
    payment of the Leian, with loss payable to Mortgagee pursuant to a standard mortgagee clause reasonably
    acceptable to Mortgagee.                        .

            (b) If Mortgagor defaults in so insuring the Premises or any part thereof or in so assigning and
    delivering the policies, at its option Mortgagee may, after written notice to Mortgagor and fifteen (15)
    days to cure, effect such insumnce from year to year and pay the premiums therefore; and any such sums
    advanced by Mortgagee shall bear interest, shall be paid and shall be secured as provided in paragraph 12.
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                     (c) If Mortgagee receives any money for loss or damage by reason of such insurance, then
             provided there is no default under this Mortgage or any of the other Loan Documents beyond any
             applicable cure or notice period, Mortgagee shall disburse them to Mortgagor, under such safeguards as
             Mortgagee reasonably deems appropriate, for the reconsiruciion or restoration or repair of the damaged
             Premises, but Mortgagee shall not be obligated to see lothe proper application by Mortgagor of any such
             disbursement. During the continuance of any default under this Mortgage or any of the other Loan
             Document beyond any applicable cure or notice period, Mortgagee may apply any insurance. proceeds
             recovered by Mortgagee toward the payment of the Loan.

                      (d) Mortgagor shall obtain and carry general comprehensive liability insurance with an insurance
             company or companies licensed in Florida. and reasonably acceptable to Mortgagee, which policy shall
             name both Mortgagor and Mortgagee as insureds, with initial limits of not less than Two Million Dollars
             ($2,000,000) as to personal injury or death, and Five Hundred Thousand Dollars ($500,000) with respect
             to property damage (or such greater or different limits which Mortgagee may require from time to time)
             and on such terms, in such fonn and for such periods as Mortgagee shall reasonably approve from time to
             time. (e) In the event of a foreclosure of this Mortgage, the purchaser of the Premises shall succeed to all
             the rights of Mortgagor in and to all policies of insurance required under this Mortgage, including any
             right to unearned premiums. (f) Not less than ten (10) days prior to the expiration date of each policy
             required under this Mortgage, Mortgagor shall deliver to Mortgagee a renewal policy or policies marked
             "premium paid" or accompanied by other evidence of payment satisfactory to Mortgagee. (g) Each policy
             of insurance required under this Mortgage shall be non-cancelable without at least ten (10) days' advance
             written notice to Mortgagee.

                       4.       Should Mortgagor ever fail to pay real estate taxes in timely manner, then at Mortgagee's
             option,Mortgagor, following written notice from Mortgagee, shall pay to Mortgagee; together with and in
             addition to each regular installment of principal andlor interest payable under the Note, an amount
             deemed sufficientby Mortgagee to provide Mortgagee with funds in an escrow account sufficient topay
             the taxes, assessments, insurance premiums and other charges next due at leilsUhirty (30) days before the
             date the same are due. In no event shall Mortgagee be liable for any interest on any such funds held in the
             escrow account. At least thirty (30) days before the date the same are due, Mortgagor shall furnish to
             Mortgagee an official statement of the amount of said taxes; a5sessments, insurance premiums and other
             charges, and Mortgagee shall pay the same, but only if sufficient funds remain in the escrow account. In
             the event of any deficiency in the escrow account, Mortgagor shall upon notice from Mortgagee
             immediately deposit with Mortgagee such additional funds as Mortgagee may deem necessary to cure the
             deficiency. in its sole discretion. If Mortgagee elects to pay any such taxes, assessments, insurance
             premiums or other charges notwithstanding the escrow account deficiency, then all sums advanced by
             Mortgagee in excess of the escrow account. balance shall bear interest, shall be paid and shall be secured
             as provided in Paragraph 12. An official receipt for such sums shall be conclusive evidence of
             Mortgagee's payment and of the validity of the tax, assessment, insurance. premium or other charge so
             paid. In the event of any default under the Note or this Mortgage or any other Loan Document which is
             not cured within any applicable cure or notice period,Mortgagee at its option may apply any or all funds
             in the escrow account against the Loan or any other sums secured by this Mortgage, in any order of
             priority Mortgagee may deem appropriate in its sole discretion. At the time of any penniued transfer of
             the title to all of the Premises then encumbered by this Mortgage, the balance in the escrow account shall
             inure to the benefit. of such transferee without any specific assignment of such funds. Upon payment in
             full of the Loan and all other sums secured by this Mortgage, the funds remaining in the escrow account
             (if any) shall be paid over to the record owner of the Premises encumbered by this Mortgage as of the date
             of such full payment.


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                    5.       Mortgagor shall promptly repair, restore. replace or rebuild any part of the Premises
           which may be damaged or destroyed by any casualty whatsoever or which may be affected by any
           condemnation, alteration of grade, or other public or quasi-public taking or injury. If Mortgagor shall fail,
           neglect or refuse to repair the Premises as aforesaid, then Mortgagee may, after written notice to
           Mortgagor, undertake such repairs or maintenance, and any funds advanced therefore by Mortgagee shall
           bear interest, shall be paid and shall be secured as provided in paragraph 12.


                   6.       a.       As further security for the repayment of the Loan, Mortgagor hereby collaterally
           assigns and transfers to Mortgagee all rents, income. issues and profits of the Premises. Mortgagee is
           hereby vested with full power and authority to use all measures, legal and equitable; deemed necessary or
           proper by Mortgagee to enforce this assignment, Mortgagor hereby empowers Mortgagee to use and
           apply all such rents and other income of the Premises to the payment of the Loan and all interest thereon
           and any other indebtedness or liability of Mortgagor to Mortgagee, and to the payment of the costs of
           managing and operating the Premises, including without limitation: (i) taxes, special assessments,
           insurance premiums, damage claims; and the costs of maintaining, repairing. rebuilding; restoring and
           making rentable any or all of the Premises; (ii) all sums advanced by Mortgagee (with interest thereon)
           for the payment of such costs or for any other reason permitted by this Mortgage or any other Loan
           Document; and (iii) all costs, expenses and attorney's fees incurred by Mortgagee in connection with the
           enforcement of this Mortgage andlor any Lease; all in such order of priority as Mortgagee may deem
           appropriate in its sole discretion.

                            b.       Mortgagee shall not be obliged to press any of the rights or claims of Mortgagor
           assigned hereby, nor to perform or carry out any of the.obligations of the landlord under any Lease, and
           Mortgagee assumes no·duty or liability whatsoever in connection with or arising from or growing out of
           the covenants of Mortgagor in any Lease. This Mortgage shall not operate to make Mortgagee
           responsible for the control, care, management or repair of all or any part of the Premises, nor shall it
           operate to make Mortgagee liable for (i) the performance or carrying outof any of the terms or conditions
           of any Lease, (ii) any waste of the Premises by any tenant. or any other person, (iii) any dangerous or
           defective condition of the Premises, nor (iv) any negligence in the management. upkeep. repair or control
           of all or any part of the Premises resulting in Joss or injury or death to any tenant, .licensee. employee or
           stranger. Nothing herein contained shall be construed as constituting Mortgagee a trustee. or mortgagee in
           possession.


                   7.       Mortgagor shall not grant any lien or mortgage that is superior to that of Mortgagee on all
           or any part of the Premises or any interest therein without the prior written consent of Mortgagee. which
           Mortgagee may grant or withhold in its sole discretion; any such unpermitted lien or mortgage or
           assignment by Mortgagor shall entitle Mortgagee to accelerate the maturity of the Loan and foreClose this
           Mortgage. Any such other lien or mortgage. or assignment shall. be junior to this Mortgage and to all
           permitted tenancies now or hereafter affecting the.Premises or any portion thereof and shall be subject to
           all renewals, extensions, modifications, releases, interest rate increases, future advances, changes or
           exchanges permitted by this Mortgage, all without the joinder or consent of such junior lienholder or
           mortgagee or assignee and without any obligation on Mortgagee's part to give notice of any kind thereto.
           Mortgagor shall maintain in good standing any other mortgage or encumbrance to secure debt affecting
           any part of the Premises from time to time' and shall not commit or permit or suffer to occur; any default
           thereunder, nor shall Mortgagor accept any future advance under or modify the terms of any such
           mortgage or encumbrance which may then be superior to the lien of this Mortgage. Except for
           encumbrances permitted by Mortgagee. Mortgagor shall not commit or permit or suffer to occur any act
           or omission whereby any of the security represented by this Mortgage shall be impaired or threatened, or
           whereby any of the Premises or any interest therein shall become subject to any attachment, judgment,
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        lien, charge or other encumbrance whatsoever, and Mortgagor shall cause any such attachment, judgment,
        lien, charge or other encumbrance to be discharged or otherwise bonded or transferred to other security
        within fifteen ( 15) days ,of filing of same.

                  8.     From time to time and on demand, Mortgagor shall execute and deliver to Mortgagee any
        further instruments reasonably required by Mortgagee to reaffirm, correct or perfect the evidence of the
        obligations secured hereby and the security interest of Mortgagee in all the property intended to be
        mortgaged hereby, including but not limited to mortgages, security agreements, financing statements,
        assignments and renewal and substitution notes provided such actions shall in no way increase the
        liability of Mortgagor or impose any additional obligations.

                 9.      Upon request made either personally or by mail, Mortgagor shall certify, by a duly
        acknowledged writing, to Mortgagee or to any proposed. assignee of this Mortgage, the amount of prin~
        cipaland interest and other sums then owing on the Loan and whether any offsets or defenses exist
        against the payment of the Loan. Mortgagor shall provide such estoppel certificate within ten (10)
        business days after Mortgagor's receipt of a mailed request, Mortgagor shall furnish to Mortgagee any'
        financial or other information regarding Mortgagor or the Premises required by any Loan Document or
        which Mortgagee may reasonably request from time to time within fifteen (15) days of such written
        request.

                  10.     Whenever Mortgagor or Mortgagee are obliged to give notice to the olher, such notice
        shall be in writing and shall be given personally, by overnight mail, or by prepaid certified mail (return
        receipt requested), in which. latter case notice shall be deemed effectively made when the receipt is signed
        or when the attempted initial delivery is refused or cannot be made because of a change of address of
        which the sending party has not been notified. Until the designated addresses are changed by notice given
        in accordance with this paragraph, notice to either party shall be sent to the respective address set forth on
        the first page of this Mortgage,

                  IL      At Mortgagee's option, all of the principal and interestund other sums secured by this
        Mortgage shall immediately or at any time thereafter become due.nnd payable with notice to any Obligor,
        and Mortgagee shall immediately have all the rights accorded Mortgagee by law and hereunder to
        foreclose this Mortgage or otherwise to enforce this Mortgage, the Note and any other Loan Document;
        upon the occurrence of any of the following defaults: (a) failure to pay any sum due under the Note and
        the expiration of the grace period (if any) provided in the Note for such payment; or (b) failure to repay
        any sum paid or advanced by Mortgagee under the terms of this Mortgage or any other.Loan Document
        (with interest thereon), as provided in paragraph 12 after written notice to Mortgagorand the expiration of
        a fifteen (15) day cure period; or (c) failure to pay any tax or assessment after written notice to Mortgagor
        and the expiration of a thirty (30) day cure period; (d) any sale, transfer (whether voluntary or by
        operation of law), pledge, hypothecation or further encumbrancing by Mortgagor of all or any part of the
        Premises, or the additional assignment by Mortgagor of all or any part of the rents, income or profits
        arising therefrom, in either case without the prior written consent of Mortgagee, which Mortgagee may
        grant or withhold in its sole discretion - provided that Mortgagor may obtain secondary financing that
        shall at all times be inferior in position to Mortgagor's first lien and mortagage positions and may convey
        condominium units in accordance with the terms of Section 35 below; or (e) the dissolution or merger or
        consolidation or termination of existence of any other Obligor, or the failure or cessation or liquidation of
        the business of any Obligor, or if the person(s) controlling any Obligor which is a business entity shall
        take any action authorizing or leading to the same; or (0 the disposition or transfer or exchange of all or
        substantially all of any Obligor's assets for less than fair market value; or (g) if any Obligor shall make an
        assignment for the benefit of creditors, file a petition in bankruptcy, apply to or petition any tribunal for
        the appointment of a custodian, receiver; intervenor or trustee for such Obligor or a substantial part of
        such Obligor's assets, or if any Obligor shall commence any proceeding under any bankruptcy,
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    arrangement, readjustment of debt, dissolution or liquidation law or statute of any jurisdiction, whether
    now or hereafter in effect, or if any Obligor shall by act or omission approve, consent to or acquiesce in
    the filing of any such petition or application against such Obligor or the appointment of any such
    custodian, receiver, intervenor or trustee or the commencement of any such proceeding against such
    Obligor or the entry of an order for relief with respect to such Obligor, or if any such petition or
    application shall have been filed or proceeding commenced against any Obligor which remains
    undismissed for sixty (60) days or more or in which an order for relief is entered, or .if any Obligor shall
    suffer any such appointment of a custodian, receiver, intervenor or trustee to continue undischarged for
    sixty (60) days or more; or (h) intentionally omitted; or (i) any default in the observance or performance
    of any other covenant or agreement of any Obligor in this Mortgage or any other Loan Document not
    cured following written notice from Mortgagee and the expiration of a thirty (30) day cure period except
    that in the event such default cannot reasonably be cured within such thirty (30) day period, such thirty
    (30) day cure period shall be extended to sixty (60) days, the occurrence of any other event prohibited by
    the terms ofthis Mortgage or any other Loan Document not cured within any applicable cure or notice
    period, or the violation of any other provision of this Mortgage or any other Loan Document not cured
    within any applicable cure or notice period. No consent or waiver expressed or implied by Mortgagee
    with respect to any default under this Mortgage shall be construed as a consent or waiver with respect to
    any further default of the same or a different nature; and no consent or waiver shall be deemed or
    construed to exist by reason of any curative action initiated by Mortgagee or any olher.cQurse ofconduct
    or in any other manner whatsoever except by a writing duly executed by Mortgagee, and then only for the
    single occasion to which such writing is addressed. In order to accelemte the maturity of the Loan
    because of Mortgagor's failure to pay any amounts required. by this Mortgage, or in order to accelerate
    because of any other default, Mortgagee shall not be required to pay the same or to advance funds to cure
    the default, notwithstanding Mortgagee's option under this Mortgage or any other Loan Document to do
    so; no such payment or advance by Mortgagee shall be deemed or construed a waiver of Mortgagee's
    right to accelemte the maturity of the Loan on account of such failure or other default.

               12.     In the event of any default in the performance of any of Mortgagor's covenants or
     agreements contained in this Mortgage or any other Loan Document not cured after written notice by
     Mortgagee and the expiration of any applicable cure ornotice period, Mortgagee shall have the right (but
    .in no event the obligation) at its option to cure the default or take any other action Mortgagee deems
     necessary or desirable to protect its security (including without limitation the payment of any taxes,
     assessments, insurance premiums, charges, liens or encumbrances required of Mortgagor under this
     Mortgage), without thereby waiving any rights or remedies otherwise available to Mortgagee. If
     Mortgagee shall elecuo advance at anytime any sum(s) for the protection of its security or for any other
     reason permitted or provided by any of the terms of this Mortgage or any other Loan Document, then
     such sum(s) shall be deemed Loan funds, shall be secured by this Mortgage and shaH bear interest until
     paid at the "Default Rate" provided in the Note commencing on the date they are advanced by
     Mortgagee. If advanced by Mortgagee before the (natural or accelerated) maturity date of the Loan, such
     sum(s) shall be due and payable by Mortgagor on such maturity date or ten (10) days after Mortgagor first
     learns of the advance, whichever is earlier, but if advanced after the (natural or accelerated) maturity date;
    such sum(s) shall be due and payable immediately. Mortgagee's lien .on the Premises for such advances
     shall be superior to any right or title to, interest in, or claim upon all or any portion of the Premises junior
     to the lien of this Mortgage. Without the prior written consent of Mortgagee, which Mortgagee may grant
     or withhold in its sole discretion, Mortgagor shall not file for record any notice limiting the maximum'
     principal amount that may be secured by this Mortgage to an amount less than the limit set forth in the
     future advance clause on the first page of this Mortgage.

             13.     In any action to foreclose this Mortgage, Mortgagee shall have the right to apply without
    notice for the appointment of.a receiver of the Premises and the rents and profits thereof, and Mortgagee

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           shall be entitled to the appointment of such .a receiver as a matter of right, without considemtion of the
           value of the Premises as security for the amounts due Mortgagee or the solvency of any Obligor;

                     14;      The rights and remedies of Mortgagee under this Mortgage or any other Loan Document
           or applicable law shall be cumulative and concurrent and may be pursued sepamtely, successively or
           together against any Obligor(s), the Premises, any other collateral for the Loan, or anyone or more of the
           foregoing, all at the sole discretion of Mortgagee, and may be exercised as often as occasion therefore
           shall arise; all to the maximum extent permitted by law. Mortgagee's pursuit of any remedy shall not
           preclude pursuit of any other remedy until Mortgagee shall have recovered all sums due Mortgagee,
           together with the appropriate interest thereon and all costs of collection, including attorney's fees and
           appellate attorney's fees, with interest thereon. Neither Mortgagor nor anyone claiming through or under
           Mortgagor shall set up, claim or seek to take advantage. of any appraisement, valuation, stay, moratorium,
           extension, exemption or redemption laws, now or hereafter in force, in order to prevent or hinder the
           enforcement or foreclosure of this Mortgage or the sale of the Premises. To the maximum extent
           pennitted by law, the Obligors, for themselves and all who may claim through or under any of them,
           hereby severally waive the benefit of all such laws and waive any .and all rights to have the Premises or
           any other collateral for the Loan marshalled upon any foreclosure of this Mortgage or any other
           instrument securing the Loan, and hereby severally agree that the Premises and any such other collateral
           may be sold as an entirety or in such parcels, in such manner and in such order as Mortgagee in its sole
           discretion may elect. In the event that. Mortgagor should seek protection under the U.S. Bankruptcy
           Code, or should Mortgagor. be adjudicated a Debtor thereunder, Mortgagor hereby consents to relief from
           the automatic stay pursuant to 1J USC 362(d) to allow Mortgagee to proceed to, and obtain, aflnal
           judgment of foreclosure of this Mortgage, to complete a foreclosure sale pursuant thereto; to cause the
           issuance of il certificate oftitle pursuant thereto, and to otherwise take all such actions as Mortgagee may
           elect in its sole discretion in pursuance of the other rights and remedies available to Mortgagee in the case
           of a default under this Mortgage. Mortgagor hereby waives any protection under 11 U.S.C:362(a).

                    15.     Mortgagor shall pay any and all reasonable costs, expenses and attorney's fees actually
           incurred by Mortgagee (regardless of whether in connection with any action, proceeding or appeal} to
           sustain the lien of this Mortgage or its priority. to protect or enforce any of Mortgagee's rights under this
           Mortgage or under any other Loan Document, to recover any indebtedness secured hereby. to contest or
           collect any award or payment in connection with the taking or condemnation of all or any part of the
           Premises, and all such sums shall bear interest, shall be paid and shall be securedas provided in paragraph
            12.

                    16.     Notwithsianding any taking by eminent domain, any alteration of the grade of any street;
           or any other injury to or decrease in value of the Premises· or any portion thereof caused by any public or
           quasi-public authority or person, Mortgagor shall continue to pay interest on the Loan and all other
           sum(s) secured hereby until Mortgagee shall have actually received the award or payment for such taking
           or alteration or injury and shall have, applied the same against the Loan. Provided there,is no existing
           default hereunder beyond any applicable cure or notice period, Mortgagee shall disburse all or part of
           such award or payment to Mortgagor for the purpose of altering, restoring or rebuilding any part of the
           Premises which may have been altered, damaged or. destroyed as a result of any such taking or alteration
           or injury. Ifall of the Property is so taken but the award or payment therefore received by Mortgagee is
           insufficient to pay in full aU sums then secured by this Mortgage, then at Mortgagee's option the unpaid
           balance shall be immediately due and payable.                                      .

                    17.     If at any time the State of Florida shall detennine that the intangible tax paid in
           connection with this Mortgage is insufficient or that. the documentary stamps affixed hereto are insuffi-
           cient, and that additional intangible tax should be paid or that additional stamps should be affixed, then
           Mortgagor shall pay for the same, together with any interest or penalties imposed in connection with such
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        detennination, and Mortgagor hereby agrees to indemnify and hold Mortgagee harmless therefrom If any
        such sums shall be advanced by Mortgagee, they shall bear interest, shall be paid and shall be secured as
        provided in paragraph 12.

                18.    If any federal, state. or local law shall hereafter be enacted whiCh shall impose on
        Mortgagee the payment of all or any part of the tax.es or assessments or charges required to be paid
        hereunder by Mortgagor, then upon written demand Mortgagor shall pay such taxes or assessments or
        charges imposed on Mortgagee or shall reimburse Mortgagee therefore.

                 19.     This Mortgage is a "security agreement" and creates a "security interest" in favor of
        Mortgagee as.a "secured party" with respect to all property included. in the Premises which is covered by
        the Uniform Commercial Code. Upon default under the Note, this Mortgage or any other Loan Document
        which is not cured within any applicable notice or cure period, Mortgagee may at its option pursue any
        and all rights and remedies available to a secured party with respect to any portion of the Premises so
        covered by the Uniform Commercial Code, or Mortgagee may at its option proceed as to all or any part of
        the Premises in accordance with Mortgagee's rights and remedies in respect of real property. Mortgagor
        and Mortgagee agree that the mention of any portion of the Premises in a financing statement filed in the
        records normally pertaining to personal property shall never derogate from or Impair in any way their
        declared intention that all items of collateral described in this Mortgage are part of the real estate
        encumbered hereby to the fullest ex.tent permitted by law, regardless of whether any such item is
        physically attached 10 the improvements or whether serial numbers are used for the better identification of
        certninitems of Equipment. Specifically, the mention in any such financing statement of (a) the rights .in
        orthe proceeds of any insurance policy, (b) any award In eminent domain proceedings fora taking or for
        loss of value, (c) Mortgagor's interest as lessor in any present or future lease or: right to income growing
        out of the use or occupancy of the Property or improvements thereto, whether pursuant to lease or
        otherwise, or (d) any other item included in the definition of the Premises, shall never be construed. to
        alter any of the rights of Mortgagee as determined by this Mortgage or to impugn the priority of
        Mortgagee's lien and security interest with respect to the Premises; such mention in a financing statement
        is declared to be for the protection of Mortgagee in the event any court shall hold that notice of Mort-
        gagee's priority of interest with respect to any such portion of the Premises must be filed in the Uniform
        Commercial Code records in order to be effective against or to take priority over any particular class of
        persons, including but not limited to the federal government and any subdivision or instrumentality of the
        federal government. This Mortgage or a carbon, photographic copy or other reproduction hereof or of
        any financing statement shall be sufficient as a financing statement.

                20.       Any payment made in accordance with the terms of the Note or this Mortgage by any
        person v,t any time liable for the payment of the whole or any part of the sums now or hereafter secured by
        this Mortgage, by any subsequent owner of the Premises, or by any other person whose interest in the
        I>remises might be prejudiced in the event of a failure to make such payment (or by any partner,
        stockholder. officer or director of any such person), shall be deemed, as between Mortgagee and all such
        persons who at any time may be so liable or may have an interest in the Premises. to have been made on
        behalfof all such persons. Mortgagee's acceptance of any payment which is less than full payment of all
        amounts then due and payable to Mortgagee, even if made by one other than the person liable therefore,
        shall not constitute a waiver of any rights or remedies of Mortgagee.

                21.      Mortgagor consents and agrees that, at any time and from time to time without notice. (a)
        Mortgagee and the owner(s) of any collateral then securing the Loan may agree to release, increase.
        change, substitute or exchange all or any part of such collateral, and (b) Mortgagee and any person(s) then
        primarily liable for the Loan may agree to renew, extend or compromise the Loan in whole or in part or to
        modify.the terms of the Loan in any respect whatsoever; Mortgagor agrees that no such release. increase,
        change, substitution, exchange, renewal, extension. compromise or modification. no sale of the Premises
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       or any part thereof, no forbearance on the part. of Mortgagee, nor any other indulgence given by
       Mortgagee (whether with or without consideration) shall relieve or diminish in any manner the liability of
       any Obligor, nor adversely affect the priority of this Mortgage, nor limit or prejudice or impair any right
       or remedy of Mortgagee. All Obligors and all those claiming by, through or under any of them hereby
       jointly and severally waive any and all right to prior notice of, and any and all defenses or claims based
       upon, any such release, increase. change. substitution, exchange, renewal, extension, compromise,
       modification, sale, forbearance or indulgence.

               22.     This Mortgage shall be governed by, and construed and enforced in accordance with, the'
       laws of the State of Florida, excepting only that federal law shall govern to the extent it may permit
       Mortgagee to charge, from time to time. interest on the Loan at a rate higher than maybe permissible
       under applicable Florida law.

               23.      In no event shall any agreed to or actual exaction charged, reserVed or taken as an
       advance or forbearance by Mortgagee as consideration for the Loan exceed the limits (if any) imposed or
       provided by the law applicable from time to time to the Loan for the use or detention of money or: for
       forbearance in seeking its collection; Mortgagee hereby waives any right to demand any such. excess. In
       the event that the interest provisions of the Note or any exactions provided fodn the Note; this Mortgage
       or any other Loan Document shall result at any time or for any reason in an effective rate of interest that
       transcends the maximum interestrate permitted by applicable law (if any), then without further agreement
       or notice the obligation to be fulfilled shall automatically be reduced to such limit and all sums received
       by Mortgagee in excess of those lawfully collectible as interest shall be applied against the principal of'
       the Loan immediately upon Mortgagee's receipt thereof, with the same force and effect as though the
       payor had specifically designated such extra sums to be so applied to principal and, Mortgagee had agreed
       to accept such extra payment(s) as a premium-free prepayment or prepayments.

                24.      Any provision of this Mortgage which is prohibited Of unenforceable in any jurisdiction
       shall, as to such jurisdiction only, be ineffective only to the extent of such prohibition or unenforceability
       without invalidating the remaining provisions hereof or. affecting the validity or enforceability of such
       provision in any other jurisdiction.

                25.     At any time after default under the terms of the Note, this Mortgage or any other Loan
       Document which exists beyond the expiration of any applicable cure or notice period, if any of the
        buildings, improvements or Equipment now or hereafter located on or in the Property shall be unprotected
       or unguarded, or if any improved portion of the Property shall be allowed to remain vacant or deserted,
       then at its option Mortgagee may employ watchmen for the Property and expend any monies reasonably
       deemed necessary byMortgagee to protect the Property and the buildings, improvements and Equipment
       thereon from waste, vandalism and other hazards, depredation or injury, and any sums expended by
       Mortgagee for such purpose shall bear interest. shall be paid and shall be secured as provided in
       paragraph 12.

                26.     Mortgagor agrees thatthe management of the Premises shall be conducted at all times by
       Mortgagor or by such other professional property management organization as engaged by Mortgagor.
       At any time after default under the Note, this Mortgage or any other Loan Document which eXists beyond
       the expiration of any applicable cure or notice period, if Mortgagee shall determine in its reasonable
       discretion that the management or maintenance of the Premises is unsatisfactory, then Mortgagor shall
       employ as managing agent of the Premises such person(s) as Mortgagee may designate from time to time,
       at Mortgagor's sole expense and for the duration of the default Any sums advanced by Mortgagee in
       connection with stich managing agent shaH bear interest, shall be paid and shall. be secured as provided in
       paragraph 12.

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            27.      In the event Mortgagee shall be named as a party to any lawsuit brought at any time
    involving any Obligor or with respect to the Premises, this .Mortgage or the Loan, or if Mortgagor shall
    incur any costs or expenses in connection. with any lawsuit involving any Obligor or the Premises in
    which. Mortgagee is not a party (i.e., if Mortgagee is called upon to produce documentation, infonnntion,
    or to provide testimony); then regardless of the type or merits of such lawsuit, Mortgagor shall defend
    Mortgagee and indemnify and hold Mortgagee fully harmless from, and shall reimburse Mortgagee for
    any and all. claims, demands, damages, liabilities, judgments, losses, costs, expenses and attorney's fees
    incurred by Mortgagee and arising out of orresultiog from any such lawsuit oraoy appeaJ in connection
    therewith, including all internal costs for time incurred by Mortgagee's officers and. other employees
    calculated at Mortgagee's standard rates (which are ava:ilable to Mortgagor upon Mortgagor's request).
    This provision shall survive the satisfaction or other termination of this Mortgage.

            28.     Mortgagee is hereby subrogated (a) to the Hen(s) of each and every mortgage, lien or
    other encumbrance on all or any part of the Premises Which is fully or partially paid or satisfied out of the
    proceeds of the Loan, and (b) to the rights ofthe owner(s) and holder(s) Of any such mortgage, lien or
    other encumbrance. The respective rights under and priorities of all such mortgages, liens or other
    encumbrances shall be preserved and shall pass to and be held by Mortgagee as security for the Loan, to
    the same extent as if they had been duly assigned by separate instrument of assignment and
    notwithstanding that the same may have been cancelled and satisfied of record,

             29.     If Mortgagoris a corporation, partnership or other business entity, then Mortgagor hereby
    represents and warrants, in order to induce Mortgagee to make the Loan, that: (a) Mortgagor is duly
    organized. validly existing and in good standing under the laws of the jurisdiction of its creation and the
    state of Florida; (b) Mortgagor has all requisite power and authority (corporate or otherwise) to conduct
    its business, to own its properties, to execute and deliver the Note and this Mortgage and all other Loan
    Documents, and to perform its obligations under the same; (c) the execution. delivery and performance of
    the Note, this Mortgage and all other Loan Documents have been duly authorized by all necessary actions
    (corporate or otherwise) and do not require the consent or approval of Mortgagor's stockholders (if a
    corporation) or of any other person or entity whose consent has not been obtained; and (d) the execution,
    delivery and performance of the Note, this Mortgage and all other Loan Documents do nound shall not
    conflict with any provision of Mortgagor's by-laws or articles of incorporation (if a corporation).
    partnership agreement (if a partnership) or trust agreement or other document pursuant to which
    Mortgagor was created and exists~

             30.    a)       Hazardous Waste. "Hazardous Waste" as used herein shall mean and include
    those elements or compounds which are contained in the list of hazardous substances adopted by the
    United States Environmental Protection Agency (EPA) and the list of toxic pollutants designated by
    Congress or the EPA or defined by any other federal; state or local statute. law, ordinance, code, rule,
    regulation, order or decree regulating, relating to or imposing liability or standards of conduct concerning
    any hazardous, toxic or dangerous waste, substance or material as now or at any time in effect.

                     b)      Representations and Warranties. Mortgagor specifically represents and warrants
    that its use and operation of the Premises shall comply with all applicable environmental laws, rules and
    regulations; including, without limitation, the Federal Resource Conservation and Recovery Act and the
    Comprehensive Environmental Response Compensation and Liability Act of 1980 and all amendments
    and supplements thereto and Mortgagor shall continue to comply therewith at all times. Specifically. and
    without limiting the generality of the foregoing, Mortgagor shall not store Hazardous Waste in, upon or at
    the Premises in violation of applicable law, and nor from the date hereof shall there be at any time any
    releases or discharges of Hazardous Waste from the Premises.



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                            c)       Indemnification. (i) Mortgagor hereby agrees to indemnify Mortgagee and hold
           Mortgagee harmless from and against any and all losses. liabilities, including strict liability, damages,
           injuries, expenses, including attorneys' fees for attorneys of Mortgagee's choice, costs of any settlement or
           judgment and claims of any and every kind whatsoever paid, incurred or suffered by, or asserted against,
           Mortgagee by any person or entity or governmental agency for, with respect to, or as a direct or indirect
           result of, the presence on or under, or the escape, seepage, leakage, spillage, discharge,emission or
           release from the Premises of any Hazardous Waste (including, without limitation, any losses, liabilities,
           including strict liability, damages, injuries, expenses, including attorney's fees for attorneys of
           Mortgagee's choice, costs of any settlement or judgment or claims asserted or arising under the
           Comprehensive Environmental Response, Compensation and Liability Act; any federal, state or local
           "Superfund" or "Superlien" laws. and any and all other statutes, laws, ordinances, codes, rules,
           regulations, orders or decrees regulating, with respect .to or imposing liability, including strict liability,
           substances or standards of conduct concerning any hazardous waste), regardless of whether within
           Mortgagor's control. (ii) The aforesaid indemnification and hold harmless agreement shall benefit
           Mortgagee from the date hereof and shaH continue notwithstanding payment. release or discharge of this
           Mortgage or the indebtedness, and, without limiting the generality of the foregoing such obligations shall
           continue for the benefit of Mortgagee and any subsidiary of Mortgagee during and following any
           possession of the Premises hereby or any ownershIp of the Premises thereby. whether arising by
           foreclosure or deed in lieu of foreclosure or otherWise, such indemnification and hold harmless agreement
           to continue forever. Notwithstanding anything to the contrary contained herein. Mortgagor shall have no
           obligation toindemnify Mortgagee for any losses. liabilities, or damage caused by Hazardous Waste first
           introduced into the Premises following Mortgagor's acquisition of the Premises by foreclosure, deed in
           lieu of foreclosure or any other means.

                          d)        Notice of Environmental Complaint. If Mortgagor sha)) receive any notice of: (i)
           the happening of any material event involving the spill, release, leak. seepage. discharge or cleanup of any
           Hazardous Waste on the Land or Premises in connection with Mortgagor's operations thereon; or (ii) any
           complaint, order, citation or material notice with regard to air emissions, and soil and water discharges
           (an "Environmental Complaint") from any person or entity, then Mortgagor immediately shall notify
           MortgageeoraHy and in writing of said notice.

                            e)        Mortgagee's Reserved Rights. In the event of receipt of an Environmental
           Complaint, Mortgagee shall have the right; but not the obligation (and without limitation of Mortgagee's
           rights under this Mortgage) after written notice to Mortgagor to enter onto the Premises or to take such
           other actions as it shall reasonably deem necessary or advisable. to clean up, remove, resolve or minimize
           the impact of, or otherwise deal with. any such Hazardous Waste or Environmental Complaint following
           receipt of any notice from any person or entity having jurisdiction asserting the existence of any
           Hazardous Waste or an Environmental Complaint pertaining to the Premises or any part thereof which, if
           true, .could result in an order, suit or other action against Mortgagor andlor which, in Mortgagee's sole
           opinion, could jeopardize its security under this Mortgage. All reasonable costs and expenses incurred by
           Mortgagee in the exercise of any such rights shall be secured by this Mortgage and shall be payable by
           Mortgagor upon demand.

                            f)       Environmental Audits. If Mortgagee shall have a good faith reason to believe that
           Hazardous Waste has been discharged on the Premises subsequent to the date hereof, Mortgagee shall
           have the right. in its reasonable discretion and by written notice to Mortgagor which notice sets for such
           good faith reason. to require Mortgagor to perform periodically to Mortgagee's satisfaction (but not more
           frequently than annually unless an Environmental Complaint shall be then outstanding), at Mortgagor's
           expense, an environmental audit and, if deemed necessary by Mortgagee, an environmental risk
           assessment of: (i) the Premises; (ii) hazardous waste management practices andlor (iii) Hazardous Waste
           disposal sites used by Mortgagor. Said audit andlor risk assessment must be by an environmental
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     consultant reasonably satisfactory to Mortgagee. Should Mortgagor fail to perform any such
     environmental audit or risk assessment within thirty (30) days after Mortgagee's request, Mortgagee shall
     have the right to retain an environmental consultant to perform such environmental audit or risk
     assessment..A1I costs and expenses incurred by Mortgagee in the exercise of such rights shall be secured
     by this Mortgage and shall bepayabJe by Mortgagor upon demand.

                     g)      Breach. Any breach of any warranty, representation or agreement contained in
    this Section existing beyond any applicable cure or notice period shall be an Event. of Default and shall
    entitle Mortgagee to exercise any and all remedies provided in this instrument, or otherwise permitted by
    laW.
                     h)      Acknowledgment. Notwithstanding anything to the contrary contained in this
    Mortgage, the liability of Mortgagor under Paragraph 30 shailextend only to those matters introduced to
    the Premises by Mortgagor and arising after the date hereof. In addition, Mortgagor shall have no
    obligation to indemnify Mortgagee and hold Mortgagee harmless pursuant to Paragraph 3~(c), with
    respect to (I) the presence on or under the Property of any Hazardous Waste that was first introduced on
    or under the Property prior to the date hereof; or (2) the escape, seepage, leakage, spillage, discharge,
    emiSSion or release from the Premises of any Hazardous Waste prior to the date hereof; In addition,
    notwithstanding anything to the contrary contained in this Mortgage. Mortgagor shall have no rights
    pursuant to Paragraph 30(e) in connection with Hazardous Waste that was firstintroduced on or underthe
    Property prior to the date hereof or in connection with, any Environmental Complaint which relates to
    Hazardous Waste on or under the Property that was first introduced prior to the date hereof.

             31.      Whenever the context of any provision of this Mortgage shall so require, words in the
    singular shall include the plural, words in the plural shall include the singular, and pronouns of any
    gender shall include the other genders; Captions and headings in this Mortgage are for convenience only
    and shall not affect its interpretation. All references in this Mortgage to Exhibits. Schedules, paragraphs
    and subparagraphs refer to the respective subdivisions of this Mortgage, unless the reference expressly
    identifies another document. Wherever used in this Mortgage, unless the context clearly indicates a
    contrary intention or unless this Mortgage specifically provides otherwise: (a) the term "Mortgagor" shall
    mean "Mortgagor or any subsequent owner or owners of the Premises"; (b) the term "Mortgagee" shall
    mean "Mortgagee or any subsequent holder(s) of this Mortgage"; (c) the term "Note" shall mean "the
    Note, any renewal notes and any additional notes hereafter to be issued and secured by this Mortgage
    pursuant to the future advance provision hereof'; (d) the term "Loan"shall mean "the Loan and any future
    or additional. advances made by Mortgagee from time to time for any reason permitted or provided by the
    terms of this Mortgage or any other Loan Document"; and (e) the term "person" shall mean "an
    individual, corporation, partnership, limited partnership, unincorporated association, joint stock
    corporation, joint venture or other legal entity".

             32.      Time is of tlJe essence of all provisions of this Mortgage. If Mortgagor consists of more
     than one person, the obligations and liabilities oreach such person hereunder shall be joint and several,
     and wherever the term "Mortgagor" is used it shall be deemed to refer to such persons joinUyand
     severally. If Mortgagor is a partnership, then all general partners in Mortgagor shall be liable jointly and
     severally for the covenants, agreements, undertakings and obligations of Mortgagor in connection with
     the Loan, notwithstanding any contrary provision of the partnership laws of the State of Florida. This
     Mortgage shall be binding upon the parties hereto and their respective heirs, personal representatives,
     successors and assigns,. and it shall inure to the benefit of Mortgagee and its successors and assigns and 10
     the benefit of Mortgagor and Mortgagor's heirs, personal representatives and permitted successors and
     assigns. This Mortgage cannot be changed except by an agreement in writing; signed by the party against
     whom enforcement of the change is sought


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          33.,  MORTGAGOR AND MORTGAGEE HEREBY KNOWINGLY, VOLUNTARILY
    AND INTENTIONALLY WAIVE THE RIGHT EITHER MAY HAVE TO TRIAi.. BY JURY IN
    RESPECT TO ANY LITIGATION BASED HEREON, OR ARISING OUT OF, UNDER OR IN
    CONNECTION WITH THIS NOTE AND ANY AGREEMENT CONTEMPLATED TO BE
    EXECUTED IN CONJUNCTION HEREWITH, OR ANY COURSE OF CONDUCT, COURSE OF
    DEALING, STATEMENTS (WHETHER VERBAL OR WRIITEN) OR ACTIONS OF EITHER
    PARTY: MORTGAGOR ACKNOWLEDGES THAT THIS WAIVER OF JURY TRIAL IS A
    MATERIAL INDUCEMENT TO THE MORTGAGEE IN EXTENDING CREDIT TO THE
    MORTGAGOR, THAT THE MORTGAGEE WOULD NOT HAVE EXTENDED SUCH CREDIT
    WITHOUT THIS JURY TRIAL WAIVER, AND THAT MORTGAGOR HAS BEEN REPRESENTED
    BY AN ATTORNEY OR HAS HAD AN OPPORTUNITY TO CONSULT WITH AN ATTORNEY IN
    CONNECTION WITH THIS JURY TRIAL WAIVER AND UNDERSTANDS THE LEGAL EFFECT
    OF THIS WAIVER.

             34.     Mortgagor and Mortgagee acknowledge and agree that the Loan is a "non-recourse" loan.
    Accordingly, Mortgagor shall not be personally liable, upon the indebtedness under the Note, this
    Mortgage, or any other Loan Document securing the payment of the Note, or for the performance of any
    of the covenants or agreements of Mortgagor under the Note, this Mortgage, or any other Loan Document
    governing or pertaining to the payment of the Note, except as and to the extent of the Property and, except
    as expressly provided herein,no other property or assets of Mortgagor (or any of its shareholders,
    members, or general or limited partners, as applicable) shall be available to Mortgagee. If default occurs
    and continues beyond the expiration of any applicable cure or notice period, any judicial proceedings
    brought by Mortgagee against Mortgagor shall be limited to (a) the protection and preservation of the
    Property, (b) the preservation, enforcement and foreclosure of the liens, mortgages, assignments, rights
    and security interests now or at any time hereafter securing the payment of the obligations secured hereby
    (the "Obligations"); and (c) the enforcement and collection of the covenants and indebtedness for which
    Mortgagor remains liable as provided in this Section. In the event of a foreclosure of any such liens,
    mortgages, assignments, rights and security interests securing the payment of the Obligations, by judicial
    process, power of sale or otherwise, no judgment for any deficiency upon such indebtedness shall be
    sought or obtained by Mortgagee against Mortgagor (or any of its shareholders, members or general or
    limited partners, as applicable).                    .

             35.     Mortgagee acknowledges that the Property constitutes a condominium under the. laws of
    the state of Florida and as such, Mortgagor may desire to sell one or more condominium units from time
    to time; Upon five (5) days' written notice, Mortgagee shall provide an original partial release of
    mortgage (within said five (5) days), in a commercially reasonable and recordable form which releases
    the subject unites) (along with all of its appurtenant rights) from the lien of this Mortgage and all Loan
    Documents.    As  consideration for the partial release; Mortgagor shall pay $400,000.00 for each pilrtial
    release. Mortgagor and Mortgagee shall cooperate in good faith to coordinate the payment of the partial
    release price and the delivery of the original partial release within said five (5) day period and shall use a
    mutually acceptable title. company to serve as escrow agent if desired.




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        WITNESS the due execution hereofas of the date first above written.

        Signed. sealed and delivered in the presence of these witnesses:


                                                                                          MORTGAGOR:

                                                                                          160 ROYAL PALM LLC
                                                                                          By: .Palm House, LLC, its sale member


        Witness:~'d~
        Print Name:              Chro\~e.f' L. bD@
        Witness:                till 4.1 ~ M
                      C.M.
        Print Name: _ _ __ HIlgendorf
                             _ _ _ _ _ _ __


        STATE OF FLORIDA          )
                                  ) SS:
        COUNTYOFPALMBEACH )                                  .                                      _   /l~
                    ~ (.. U( 4 -., fL. /:7<, ~ & •.-J ,;~u I'(....,u                J             01 17         r
                     The          for~ng instrume~t                   was acknowledged before me this."7J 1 5 ......day of August, 2013. by
(t7 Ct..,-I h (... J.n..... ~s~                Me.    ""-·rl1·~                 of 160 ROYAL PALM LLC. a Florida limited liability
        company. and for whom and whose behalf this instrument was executed.


        Personally Known _...:./
                            ___ OR Produced Identification _ _ __


                     [NOTARY SEAL)



                                              -.     -.     -.           -                        My Commission Expires: _ _ _ __
            ~     ,'\'U~:''!';',               C1.4 HILGENDORF
            . i·: -,:,:; i%·~MyComm.ExpiresAuatIU017
              l'm'~~        .            Notary Public· SI.1i 01 Flollda ,                        Commission Number: _ __
                \:. ~           · ~l        Commission II fF 13B07
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                                           CLOSING STATEMENT
                                             August 30, 2013




    Sellers Credits                                     Sum Due from Buyer

    $36,000,000.00       Purchase Price                  $36,000,000.00 Purchase Price
    $625,000.00          Cost Since July 81h, 2013      .$625.000.00 Cost Since July 8th, 2013
    $36,625,000.00       Gross Purchase Price            $96.140.63     DOC Stamps on Mortgage
                                                         $54,937.50     Intangible Tax on Note
                                                         $125.00        Recording Fees
                                                         $36.776.203.13 Total Due from Buyer


    Sellers Deductions                                  Buyer Credits

    $1,831,250.00.       Broker's Commission            $2,000,000.00            Depcisit
    $150,000.00          Buyer's Credit DOC Stamps      $27,468.750.00           Seller Financing
    $133.442.00          Escrow -Liens I Retainage      $151,078.13              Credit Doc Stamps
    $25,000.00           Escrow-A/C                     $29.619.828.13           Total
    $586,000.00          Escrow - $2,000.00 per Day
    $82,374.75           Cleary Lien
    $5.700.95            VCNA Prestige Gunite, Inc;
    $121,561.44          Prorated Real Estate Taxes
    $27,468.750.00       Seller Financing
    $30.434,079.14       Total Deductions

    Seller Recap

    $36,625,000.00       Seller Credits
    $30,434,079.14       Seller Deductions
    $6.220,920.86        Sum Due to Seller at Closing




                                                        Buyer
                                                        i60 Royal Palm, l.l.c., a Florida limited LIability

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                                           ESCROW AGREEMENT

         THIS ESCROW AGREEMENT (this'''Agreement'') is made as of August 30, 2013 by and
   among GLENN F. STRAUB ("Seller'i), PALM HOUSE, LLC, a Delaware limited liability company
   ("Purchaser"), and LESLIE ROBERT EVANS & ASSOCIATES, P.A., n Florida. professional
   association corporation ("Escrow Agent").

                                                BACKGROUND

         A.       Seller, Purchaser and 160 Royal Palm, LLC ("Royal Palm") entered into that certain 'As
   Is' Agreement for Purchase and Sale by dated August 16, 2013 as amended by First Amendment to 'As
   Is' Agreement for Purchase and Sale dated as of August 3D, 2013 (the "Purchase Agreement") for the
   purchase of one hundred percent of the membership interest in 160 Royal Palm, LLC., in which Seller
   and Purchaser were added as parties.

        B.        .Royal Palm owns (he real property, personal property and fixtures which constitute the
   Palm Hotel, located at 160 Royal Palm Way, Palm Beach, Florida (the "Property").

         C.       As of the date hereof, Purchaser has acquired from Seller one hundred per cent (100%) of
   the membership interest in Royal Palm (the "Membership Purchase").                            .

          D.        The Property is currently in violation of a municipal requirement that the construction
   taking place at the Property be completed by February 14,2013 and, since February 15.2013 the Town of
   Palm Beach has been assessing a fine in the amount of $2,000 per day (the "Completion Violation").
   Notwithstanding any terms of the Purchase Agreement to the contrary, the parties have agreed that Seller
   is required to obtain n full release from the Town of Palm Beach of any pending and future assessments
   relating to the Completion Violation by October3I, 2013 in accordance with the terms hereof, thne being
   of the essence:

          E.        The Property is also in violation of a certain Town of Palm Beach Code of Ordinances
   relating to noise levels of air conditioning uniL'i as more specifically set forth in a notice form Town of
   Palm Beach Police Department to Royal Palm dated August 12. 2013 (the "Noise Violation"). The
   parties have agreed that Purchaser shall be permitted on behalf of itself and Royal Palm as its sole
   member to remedy the Noise Violation as it may determine in its sole discretion.

          F.        The parties recognize that certain liabilities undisclosed in writing to Purchaser relating to
   the Property and Royal P\llm may arise after the date hereof to the detriment of Purchaser and Royal Pal m
   ("Undisclosed Liabilities") ancl therefore have agreed that the terms of this Escrow Agreement shall, in
   addition to any rights and remedies Purchaser and Royal Palm may have pursuant to the Purchase
   Agreement and other documents executed in connection with the Membership Purchase, shall govern
   such situations~

          G.        The Parties agree that Seller shall deposit a sum    ~qual $7'+1, 'ftf~· ~~he
                                                                         to                   "Funds")
   with Escrow Agent in order to. address the Completion Violation. the Noise Violation and Undisclosed
   Liabilities as more particularly set forth herein.

          H.       The parties desire to have Escrow Agent act as an escrow agent with respect to the Funds
   to be held by Escrow Agent. as more particularly described below. and Escrow Agent has agreed to act in
   said capacity.
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         NOW, THEREFORE, in consideration of the foregoing, and the mutual promises, covenants and
   conditions hereinafter set forth, Purchaser, Purchaser and Escrow Agent hereby agree as follows:

           J)     On the date hereof, Purchaser shall deliver the Funds to Escrow Agent, to be held and
   disbursed by Escrow Agent in accordance with the tenns and conditions of this Agreement

          2)       Escrow Agent hereby acknowledges receipt of the Funds and agrees to promptly deposit
   the Funds in Escrow Agent's attorney's trust account

            3)       Completion Violation.      Seller may on or before sixty (60) days from the date hereof
   (the "Completion Violation Deadline"), time being of the essence, negotiate with the Town of PaJm
   Beach in. order to remedy the Completion Violation. For purposes of this Section 3, the Completion
   Violation shall be remedied if Seller shall provide Purchaser and Escrow Agent written confirmation from
   the Town of Palm Beach in recordable form thal (0) the Completion Violation is released and fully
   satisfied (in a form reasonably acceptable to Purchaser's attorney and its title company).

            4)     Noise Violation. Purchaser mayor cause Royal Palm to, on or before the date which is
   ninety (90) days after the date hereof (the "Escrow Termination Date"), remedy the Noise Violation as
   determined in its sole discretion. In remedying the Noise Violation (including without limitation, the
   payment of any fines or penalties associated therewith), Purchaser shall be pennilted to use any or aU of
   the Funds provided that this sum does not exceed $40,000.00. Accordingly, Purchaser shall submit
   requisitions associated with its actions to remedy tile Noise Violation to Escrow Agent and Seller.
   Escrow Agent shall thereafter promptly pay Purchaser in accordance with its request(s) using the Funds.

             5)      Undisclosed Liabilities. In addition to any other rights or remedies which Purchaser or
   Royal Palm may have under the Purchase Agreement or any documents executed in connection with the
   Membership Purchase, Purchaser shall, on or before the Escrow Termination Date, be permitted with
   Seller's consent to use any portion of the Funds (or cause Royal Palm) to resolve, settle, satisfy or pa.y
   any loss, liability, daim. damage (including incidental and consequential damages), expense (including
   costs of investigation and defense and reasonable attorneys' fees) or diminution of value, whether or not
   involving a third- party claim arising out of (a.) any breach or inaccuracy of any representation or
   warranty made by Seller or Royal Palm in the Purchase Agreement or any documents delivered at or
   before dosing; including without limitation, the affidavit set forth in Section 5.5 of the Agreement
   (coHectively, the "Transaction Documents"), (b) any indemnifications made by Seller or Royal Palm
   within or Jiability of Seller or Royal Palm in connection with the Transaction Documents, or (c) any
   liabilities not disclosed to Purchaser in writing on or before the date hereof, including without limitation
   mechanic's liens). Upon Purchaser becoming aware of any matters set forth in the preceding sentence, it
   shall notify Seller of such fact and Seller shall have ten (10) days to remedy such issue, time being of the
   essence, to the reasonable satisfaction of Purchaser such that after such action by Seller, such matter shall
   cease to be a liability (contingent or otherwise) of Purchaser or Royal Palm. If Seller fails to remedy such
   matter as aforesaid, Purchaser may submit a written request to request Escrow Agent (with a copy to
   Seller) requesting, in reasonable detail, a sum or sums of money which will allow Purchaser to remedy
   the matter. The fact that Purchaser acquired, as of the date hereof, all membership interests in Royal
   Palm shall in no way limit the rights of Purchaser as more particularly set forth herein and Seller shall
   have no right of contribution from Royal Palm.
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            6)      Release of Funds.         (a) Upon the Escrow Termination Date, Escrow Agent shall
   release the following to Seller:

                    (i) If the Completion Violation Conditions are satisfied by the Completion Violation
            Date. time being of the essence, the balance of the Funds not released pursuant to Sections 4 and
            5 hereof shall be promptly released to Seller,

          (b)        Upon the Escrow Termination Date, Escrow Agent shall release the following to
   Purchaser:
                    (i)     If the Completion Violation Conditions are not satisfied by the Completion
            Violation Date, time being of the essence, the greater of (a)[$624,OOO] or (b) the balance of the
           ,Funds currently being held by Escrow Agent as of the Escrow Termination Date shall be
            promptly released to Purchaser.


            7)     In the event of any dispute regarding disbursement ofthe Funds, Escrow Agent may take
   the following actions:

                  (a)     to .continue to hold the Funds or any portion thereof until Escrow Agent receives
   a written agreement of-Purchaser and Purchaser directing the disbursement of the Funds in dispute, in
   which event Escrow Agent shall disburse such Funds in accordance with such agreement; andlor

                   (b)      to take any and all such actions as Escrow Agent deems necessary or desirable; in
   its sole and ab!iolute discretion. to discharge and terrriinateits duties under this Escrow Agreement,
   including (but not limited to) depositing the Escrow or: any remaining portion thereof into any court of
   competent jurisdiction and bringing any action of interpleader or any other proceeding~ andlor

                      (c)      in the event of any litigation between the parties relating to the disposition of the
    Funds, to deposit the Funds or any remaining portion thereof with the clerk of the court in which such
    litigation is pending. In the event the Escrow.is deposited in a court by Escrow Agent, Escrow Agent
    shall be entitled to rely upon the decision of such court.

             8)      In the event of any dispute whatsoever among the parties with respect to the disposition
    of the Funds or any remaining portion thereof, the parties shall pay the reasonable attorneys fees and costs
    incurred by Escrow Agent (which said parties shall share equally. but for which such parties shall be
    jointly and severally liable) for any litigation in which Escrow Agent is named as, or becomes, a party.

             9}      Escrow Agent undertakes to perform only those duties which are expressly set forth in
    this Agreement and acknowledge that these duties are purely ministerial in nature. Escrow Agent shall be
    entitled to receive reimbursement as Escrow Agent of documented reasonable attorneys' fees and other
    documented out-of-pocket expenses incurred by it in the performance of its duties under this Agreement,
    whiCh shall be paid in equal amounts by Purchaser and Purchaser.

             10)      Purchaser and Seller agree to indemnify and hold harmless Escrow Agent. ito; officers,
    shareholders. employees and agents against any and all cost, losses, claims; damages, liabilities and
    expenses (including reasonable costs of investigation, court costs and attorney's fees) that may be
    imposed upon Escrow Agent in connection with its acceptance of appointment as Escrow Agent
    hereunder (except those arising out of Escrow Agent's gross negligence or willful misconduct), including
    any litigation arising from this Agreement or involving the subject matter hereof.
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            11)      Escrow Agent may in its sale discretion resign by giving thirty (30) days written notice
   thereof to Purchaser and Purchaser. Purchaser and Seller shall furnish .to Escrow Agent written
   instructions for the disposition of the Flinds~ If Escrow Agent shall not have received such written
   instructions within the thirty (30) days, Escrow Agent may petition any court of competent jurisdiction
   for the appointment of a successor Escrow Agent and upon such appointment deliver the Funds to such
   successor; Costs and fees incurred by Escrow Agent may, at the option of Escrow Agent, be deducted
   from the Funds. Purchaser and Seller reserve the right to remove Escrow Agent aL any time, provided ten
   (10) days' prior written notice is given to Escrow Agent. Escrow Agent neither approves nor disapproves
   of this transaction, nor does it recommend for or against, nor does it have an opinion as to the legality or
   validity of this transaction.

            12)      If the Funds are at any time attached, garnished; or levied upon under any court order or
   if the payment or delivery of the Funds is stayed or enjoined by any court order,or if any order, judgment
   or decree shall be made or entered by any court affecting the Funds, Escrow Agent is authorized, .in its
   sole discretion, to rely upon and comply with the order, writ, judgment or decree; Escrow Agent shall not
   be Ihible to Purchaser, Seller or to any other person firm or corporation by reason of such compliance
   even though the order, writ, judgment or decree may be subsequently reversed modified, annulled, sel
   aside or vacated.

             13)     Escrow Agent shall not be responsible for (i) anynuctuations in the .interest rate
    applicable to any cash held by it pursuant to or by virtue of this Agreement, or (ii) any lost earnings as a
    result of deposits in transit or similar delays.

            . 14)     Purchaser and Purchaser release and waive any c1aimsthey may have against Escrow
    Agent, which may result from its non~negligent performance in good faith of its duties under this
    Agreement, including, but not limited to, a delay in the electronic wire transfer.of any monies held as part
    of the Funds. Escrow Agent shall be liable only for loss or damage caused directly by its acts of gross
    negligence or willful misconduct while performing as Escrow Agent under this Agreement Escrow
    Agent shall be entitled to rely upon the authenticity of any signature and the genuineness and validity of
    any writing received by Escrow Agent relating to this Agreement,so long as .Escrow Agent is acting in
    good faith in relying thereon. Escrow Agent shall not be bound in any way by any contract or agreement
    between Purchaser and Purchaser, whether or not it has knowledge of any such contract or agreement or
    of its terms or conditions.

             15)      Purchaser and Seller are aware that the Federal Deposit Insurance Corporation (the
    "FDIC") coverages apply only to a cumulative maximum amount of $250,000 for each individual deposit
    for all depositor's accounts at the same or related institution. Purchaser and Purchaser further understand
    that certain banking instruments such as, but not limited to, re-purchase agreements and letters of .credit
    are not covered at all by FDIC insurance. Further Purchaser and Seller understand that Escrow Agent
    assumes no responsibility for, nor will Purchaser or Seller hold Escrow Agent liable for any loss
    occurring that arises from the fact that the amount of the above account may cause the aggregate amount
    of nnyindividual depositor's accounts to exceed $250,000 and that the excess amount is not insured by
    the FDIC or that FDIC insurance is not available on certain types of bank instruments.

             16)     The parties severally agree to provide to Escrow Agent all instruments and documents
    within their respective powers necessary for Escrow Agent to perform its duties hereunder.
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            17)      Any notice, report, request or demand required, permitted, or desired to be given under
   this Agreement shall be given to the respective party at the addresses set forth below in writing and shall
   be deemed to have been properly given, for all purposes, only (i) upon receipt if personally delivered, (ii)
   on the next ,business day if sent by nationally recognized overnight courier, (iii) on the third business day
   if sent by registered or certified mail return receipt requested, or (iv) on the day sent if sent by confirmed
   facsimile. A party's address may be changed by written notice to the other parties given in accordance
   with this Section.

          If to Purchaser:                   Palm House, LLC


                                             Attention:
                                             Telephone:
                                             Facsimile:


         If to Seller:                       Glenn F. Straub
                                             11198 Polo Club Road
                                             Wellington, Florida 33414
                                             Telephone: (561) 596-9500
                                             Facsimile: (561) 798-7330


          If to Escrow Agent:                Leslie Robert Evans & Associates, P.A.
                                             214 Brazilian Avenue, Suite 200
                                             Palm Beach, FL 33480
                                             Attention: Leslie Robert Evans, Esq.
                                             Telephone: (561) 832-8288
                                             Facsimile: (561) 832·5722


            18)     This Agreement shall be binding upon and shall inure to the benefit of the parties hereto
   and their respective successors and assigns as permitted hereunder. No person or entity other than the
   patties hereto is or shall be entitled to bring any action to enforce any provision of this Agreement against
   any of the parties hereto, and (he covenants and agreements set forth in this Agreement shall be solely for
   the benefit of. and shall be enforceable only by. the parties hereto or their respective successors and
   assigns as permitte'd hereunder. No party to this Agreement may assign this Agreement or any rights
   hereunder without the prior written consent of the parties hereto.

             19)    This Agreement may not. be amended except by a writing signed by both parties nor shall
    observance of any term of this Agreement be waived except with the written consent. of the parties
    benefiting from such term. The failure by either party to enforce against the other any term or provision
    of this Agreement shall not be deemed to be a waiver of such party's right to enforce against the other
    party by the same or any other such term or provision in the future.

            20)     Any judicial proceeding brought against any party in connection with, arising out of or in
    any way related to this Agreement may be brought in any court of competent jurisdiction in the State of
    Florida, and, by the execution and delivery of this Agreement, Purchaser and Purchaser each (a) shaH
    accept, generally and unconditionally, the nonexclusive jurisdiction rendered thereby in connection with
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   this Agreement and (b) irrevocably waive any objection each may now or hereafter have as to the venue
   of any such suit, action or proceediilg brought in such a court or that such court is an inconvenient forum.
   This Agreement shall be governed by the laws of the State of Connecticut.

          21)     This Agreement may be executed in any number of counterparts, each of which shalJ be
   deemed an original and all of which taken together shall constitute one and the same agreement.

           22)     Purchaser and Seller each warrant and represent to the other that the execution of this
   Agreement has been duly authorized by all necessary action and that the individual signing on its behalf is
   duly authorized to execute this Agreement.

            23)     Any provision in this Agreement that is held to be illegal or unenforceable shall be
   ineffective to the extent of such illegality or unenforceability without invalidating the remaining
   provisions and any such illegal or unenforceable provision shaH be deemed to be restated to reflect as
   nearly as possible the original intentions of the parties in accordance with applicable law.

            24)     Each party has been represented by its own counsel in connection with the negotiation
   and preparation of this Agreement and, consequently, each party hereby waives the application of any
   rule of law that would otherwise be applicable 'in connection with the interpretation of this Agreement,
   including but not limited to any rule of taw to the effect that any provision of this Agreement shall be
   interpreted or construed against the party whose counsel drafted that provision.

          25)     The descriptive headings of the paragraphs of this Agreement are inserted for
   convenience only and do not constitute a part of this Agreement                                                •
           26)     This Agreement constitutes the entire agreement by and between the parties hereto and
   supersedes any and all previous agreements, written or oml, between the parties and affecting the matters
   covered herein.             ...
          IN WITNESS WHEREt)F, the parties hereto have caused this Agreement to be executed as of
   the date set forth above.
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                                       SPECIFIC POWER OF ATTORNEY

      KNOW ALL MEN BY THESE PRESENTS:

      THAT I, RYAN BLACK, MANAGING MEMBER OF PALM HOUSE LLC,'A DELAWARE
      LLC, have made, constituted and appointed, and by those presents do make, constitute and
      appoint LESLIE ROBERT EVANS, my true and lawful attorney for me and in my name, place
      and stead, to contract for, purchase, receive and take possession of; to purchase, sell, exchange;
      grant or convey with or without warranty; to mortgage, transfer in trustor other wise encumber
      or hypothecates any interest in the property legally described as:

       Lots 31, 32 and 33, Block F of REVISED MAP OF ROYAL PARK. ADDITION TO PALM
       BEACH, FLORIDA, according to the Plat thereof, as recorded in Plat Book 4, at Page 1, of the
       Public Records of Palm Beach County, Florida.

       AlKJA 160 ROYAL PALM WAY, PALM BEACH, FLORIDA 33480

       And to endorse, sign, seal, execute and deliver any and all mortgages, Deeds of Trust, Deed or
       Trust Notes, notes or bonds, financing statements, checks, drafts or othe negotiable instruments
       and other written insttuments of whatever kind reasonably required to effectuate this transaction.
       Giving and granting unto my said attorney full power and authority to do and perform all and
       every act and thing whatsoever required and necessary to be done in and about the premises as
       fully, to all intents and purposes as I might or could do if personally present; withfull power of
       substitution and revocation, hereby reatifying and confirming all that my said attorney or his
       substitute shall lawfully do or cause to be done by virtue hereof. This Power of Attorney is
       specifically limited to the above purposes and, if not exercised prior to September 5, 2013, shall
       be revoked.
                                                                         ::2~lh.
           IN WITNESS WHEREOF, I have hereunto set my hand and seal this ~ day of
       AUGUST,2013.

       Signed, sealed and delivered
       in the presettce of:



    diii:1J1!!s?t:~
    ~~£~,
       STATE OF FLORIDA
       COUNTY OF PALM BEACH

       THE FOREGOING INSTRUME~T was swomto and acknowledged before me this          day of   (3'0
       August;2013 by Ryan Black, Managing Member of Palm House LLC, a Delaware LLC, who (
      ;q  is    personally known to me or who               (      ' ) has produced




                        IDRRAlNEM.COACORAN
                                                   ~zr::'
                                                   ~e
                        MYCO~lMlSs!oN HE 141171
                       EXPIRES: November2B. 2015
                      Bar.dedTh'IIoI.>yPuW;~            Print Name
                                                        My Commission Expires:
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                                         68
 1:32PM                   Leslie Robert Evans & Assoc. PA
01117/14                                                 Account QuickReport
Accrual Bssls                                                 All Transactions

                    Type        Date        Num                   Name                     Memo           Amount         Balance
                1213 • First United IOTA (Real Estate)
                  Matthews PIO Palm House1375.1,;n




                  Check      8/29/2013     WIRE    USREDA                                Matthews P...   ·350,000.00     2,740,772.80
                  Check      9/312013      wire    160 Royal Palm LlC                    Matthews P... -2,580,000.00       160,772.80
                  Check      9/312013      WIRE    160 Royal Palm LLC                    MatthewsP...    -150,920.08         9,852.72
                  Deposit    9/6/2013                                                    Deposit        1,064,858.73     1,074,711.45
                  Deposit    91612013                                                    Deposit            33,140.49    1,107,851.94
                  Check      9/11/2013    9666     Leslie Robert Evans & Assoc., p.A.    Matthews P...     -33,000.00    1,074,851.94
                  Check      9/20/2013    9761     Florida UCC, LLC                      Matthews P...         -38.00    1,074,613.94
                  Check      10/21/2013   9999     Clerk of Circuit Court               .Walsh/Roy...      -18,608.90    1,056,205.04
                  Check      10/23/2013   WIRE     New Haven ConlracUng South            Matthews P...   -150,000.00       906,205.04
                  Deposit    11/26/2013                                                  Oeposit        3,337,21.6.?7.   4,243,421.71




                                                                                                                                        Page 1
Case 9:16-cv-81871-KAM Document 301-2 Entered on FLSD Docket 07/13/2018 Page 53 of
                                      68

Michele Andre

From:                    1stunitedbankwire@fundtech.com
Sent:                    Thursday, August 29, 2013 3:56 PM
To:                      Michele Andre
Subject:                 [Cust Out Wire Advice - eMail] Message ID:130829153533JM01 Advice Code:OTCSADEM


From: 1st United Bank Wire Transfer Dept.

In accordance with your instructions; we have DEBITED your account: **********l1li for
$3Se J eee.ee.

FRB Confirmation: 2e13e829MMQFMP96eeel44
Originating Routing Number:
Originating Bank short Name:              1ST UNITED BANK
Originating Reference Number:       13B829153533JMel
Beneficiary Institution




Party to b.e. .p.a.id or Credited
*********
USREDA (UNITED STATES REGIONAL
ECONOMIC DEVELOPMENT AUTHORITY INC)
1975 FEDERAL HWY STE 2ee
BOCA RATON FL 33432
Payment Originator Information
*********
LESLIE ROBERT EVANS &ASSOC PA
IOTA TRUST ACCOUNT
214 BRAZILIAN AVE STE 2ee
PALM BEACH) FL 334813-4676
Additional Info:
Bank to Bank Info:
Our Wire Dept Phone number is 561 616-311313
Our direct Wire Fax number is 866 493-6323




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     Case 9:16-cv-81871-KAM Document 301-2 Entered on FLSD Docket 07/13/2018 Page 54 of
                                           68
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                                          TRANSMISSIOt-i VERIFICATION REPORT
                                                                                                   TIME
                                                                                                            ~
                                                                                                            09/83/2013 18:12
                                                                                                   NAME     LESLIE REVANS ASSOC
                                                                                                   FAX      561:-832-5722
                                                                                                   TEL      561-832";8288
                                                                                                   SER.II   BROF3J491593



                                                                                   09/03 10:11
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                                                               ORIGINATOR (yOUR INFORMATION)
                   ORIGINATOR NAME:             Lesl.ie Robert Evans & Associates J P.A.
                   ADDRESS! _·________2~1~4~B~r~a~z=1]=.i=a~n~A~~~.e~.~,~#~2~OO~____________~___________
                   CITY,STATE & ZIP:            Palm Beach, Florida                     33480
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                  RECEIVING BANK NAME:                    ;f.ba....k    of! r{1"\'<': 1"'1 c~ .AtJA#·
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                  aENEFICIARYEANK NAME(BBK)! _ _ _ _ _ _ _ _ _..... SWlFT/ACCTCOOE: _ _ _ __
                  BENEFICIARY BAN( ADDRESS:

                  BENEFICIARY NAME:                   r19 cJ   R. c r    I  {'e, (...., l L(
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                 AODRESS:                     W.z..«('A;\\fv"" ,         f'l 13'1''1
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                 AUTHOr:<IZED SIGNATURE:

                 AUTHORIZED SIGNATURE:.
Case 9:16-cv-81871-KAM Document 301-2 Entered on FLSD Docket 07/13/2018 Page 55 of
         to ax 10: 866.493.6323       68
                                                                                                 "
                                                                                                                      Phone: 6610816-3100 or 866-493-6300




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                                                                           WIRE TRANSFER REQUEST
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                                                             OR/GINA ro,R (yOUR INFORMA TJON)
               ORIGINATOR NAME:                       Leslie Robert Evans & Associates. P.A.
             ADDRESS: _ _ _ _ _2_14_B...;.r_a;;:.:zi;;:.:1;;.:i;.:;;a;:::n...:A::.v;.;:e:.:..~,....,:1.:.:12:.::0;..:::0_ _ _ _ _ _ _ _ _ _ _ _ _ _ __
            CITY, STATE &ZIP:                        Palm Beach, Florida                     33480
            ORIGINATOR'S ACCOUNT NUMBER:

                                                               BeNEFICIARY (REClfIHNrs INFORMA TlON)

           RECEIVING BANK NAME:                                     ~I\.k.     a-f   A",,"'("c~ ABA#=i-~~~~~~~~_ _
            iNicRMi:i:iiARyaANI\ /'IAIVlt:(IBK): _ _ _ _ _ _ _ _ _ _ _ SWlFT/ACCT CODE: _ _ _ _ __
           INTERMEDIARY BANK ADDRESS: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


          BENEFICIARY BANK NAME(BBK): -                                   _ _ _ _ _ _ _ _ _ SWlFT/ACCTCODE~ _ _ _ _ __
          BENEFICIARY BANK ADDRESS:

          BENEFICIARY NAME: _ _....0...-0,..--"-..R         1                                _L"71l_(~_ _ _ _ _ _ _ _ _~_
                                                 ___0..J..1;..,.<1,...1_r:...,G.,...,..(_.....
         ADDRESS:_...:-_ _ _ _!...lIIi-/!....,'~g-_!.:(b~I:..::"...-:~:-~.-::.J..._---_;_------


         AODRESS:~~~~~~(J~~~(~(~'~~~~~~~,LI-=~F~l~·ii~~~~~~~~==============.====
         BENEFICIARY'S ACCOUNT NUMBER:

        ADDITIONAL INFORMATION:



        AUTHORIZED SIGNATURE:

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       WIRE ACCEPTeD.\ VER/FIEO IlV; ,
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    Revlsed 04111
Case 9:16-cv-81871-KAM Document 301-2 Entered on FLSD Docket 07/13/2018 Page 56 of
                                      68
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                                             TRANSMISSIOl-I VERIFICATION REPORT
                                                                                                                        TIME        09/03/2613 14:20
                                                                                                                        NAME        LESLIE R EVA~IS ASSOC
                                                                                                                        FAX         561-832-5722
                                                                                                                        TEL         561-832-8288
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                                                            ORIGINATOR (yOUR INFORMATION)
             ORIGINATOR NAME;                       LesJ.ie Robl;:rt E~ans oS Assoc.iates, P.A.
             ADDRESS: ______•__-:2~14~B~r-a~~1~J~.i~~~n~A~~~'e~'~,~,Q~.2~O~O~--------___________________
             CITY, S"ATE a ZIP:
             ORIGINATOR'S
                                 Pa.lm Beach, Florida 33480
                                    ACCOU~N~T~N~UM~eE~R~:=I• •                          ii.::==============
                                                            BeNEFICIARY (REC/PIE!NrS fNFORMA f/ON)
            RECEi!VlNG SANK NAME:                              ~,."k.         d.f     tt~en.,:"'_A8An:_ _ _
           JN72RiviiiLiiARY i)ANr\ NA"II:V tlK): _ _ _ _ _ _ _ _ _ _ _ _ SWlFTfACOT COOE: _ _ _ _ __
           INTERMEOrAR'( BANK ADDRESS: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


           BENEFICIARY SI.NI( NAME(SBK): _ _ _ _ _ _ _ _ _ _ _ SWiFT/ACCTCOOE; _ _ _ __
           6ENF.F/CIARY BANK AODRESS!


         BENEFICIARY NAME: _~:--'I~&::-o_Q:::-u-;ff;.:;;
                                                      ...'_;I...,...P_rq--I7;"'_L-L_;__C_ _ _ _ _ _ _ _ __
         ADORESS: _______~I~I1~~~~__~r.~.~I:~~~~I-~~b~~~o-~~-------~~-----------
         AODR~SS: ______.__~w~~~(~I_.¥_)~~_·-~I__          p_~_~__      3~_·_~~~======~--~__________
          BENEFICrARY'S ACCOUNT NUMBeR,

         ADDITIONAL INFORMATION:


         AUTHORIZED SIGNATURE:

        AUTHORIZED SIGNATURE:,
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        WIRE: ACCEPl'GD.\ V£RIFlEO av;
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Case 9:16-cv-81871-KAM Document 301-2 Entered on FLSD Docket 07/13/2018 Page 57 of
         I-ale 10: 886-1193.6323
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                                          ".            Phone: S61-a1~3100 or 866-493-$300




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                                                                                     Amount; '-15'"0, '72 tJ ; - "Currency: _V_.f_
                                                  ORIGINATo,R (YOUR INFORMATION)
             ORIGINATOR NAME:              Leslie Robert Evans lie Associates. P.A.
            ADDRESS:                       214 Brazilian Ave., #200
            CITY, STATE &ZIP:              Palm Beach, Florida                      33480
            ORIGINATOR'S ACCOUNT NUMBER:                              JtJdtJtJtot
                                                    BENEFICIARY (REC/~/ENT'S INFORMA nON)
           RECEIVING BANK NAME:                          ~ ... k t:J+ It''1eV',~~           A9A#'
          iNicnw;cDiARY aAIllr..NAMI:VtlK}! _ _ _ _ _ _ _ _ _ _ _ SWlFT/ACCT CODE: _ _ _ _ __
          INTERMEDIARY SANKADDRESS: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


          BENEFICIARY BANK NAME(SBK)! - -_ _ _ _ _ _ _ _ SWlFT/ACCT COOE: _ _ _ __
          BENEFICIARY BANK ADDRESS:




        AUTHORIZED SIGNATURE:

       AUTHORIZED SIGNATURE;
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                                                                   INTERNAL USE DNt Y
       WIRE ACCEPreO & VERIFIED av:
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       C~LLBACK OveR $10,000:
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                                     01     ,tn,/IIIg .....,
       CALLBACK PERFORMED BY:               _•••• _~... ____ • _ _ _ •• ___ ...                            SECURITY COOe:

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    Revised 04/11
Case 9:16-cv-81871-KAM Document 301-2 Entered on FLSD Docket 07/13/2018 Page 58 of
                                      68
    ','



                              160 Royal Palm LLC
                             11198 Polo Club Road
                            Wellington, Florida 33414
                               Tel: (561) 79B.73331F1lx (561) 798·7330



          August 30,2013

          From: Sal Spano-Vice President

          Re: Account Wire Transfer Instructions for: 160 Royal Palm LLC

          To: Bank ofAmerica

          City/State New York, New York

          ABA

          To: 160 Royal Palm LLC


          Account Number:


          Any questions please contact Sal V. Spano, Vice President 561-
          798-7113 or e-mailspano@palmbeachpolo.comor GlennF. Straub
          561-596-9500
Case 9:16-cv-81871-KAM Document 301-2 Entered on FLSD Docket 07/13/2018 Page 59 of
                                      68

JudySlatus

From:                        1stunitedbankwire@fundtech.com
Sent:                        Friday, September 06; 20133:44 PM
To:                          Leslie Evans
Subject:                     [Cust Inc Wire Advice - eMail) Message ID:130906153854F100 Advice Code:INCSADEM


From:      1st United Bank Wire Transfer Dept.

This funds transfer was received on 21313-139-136~ for $1~1364J858.73.
The funds have been CREDITED to account # **********l1li.
Sender:
             Name                          BK AMER NYC
             ABA #
             Reference #               2131313913613132552131
             Received from           BANK OF AMERICA/FLX
             By Order Of           : FLORIDA IOTA TRUST ACCOUNTS

OMAD Reference #                 : 213131398SMMQFMP9613ee13213ge61S38FT133
Additional Funds Transfer Information:
Beneficiary: LESLIE ROBERT EVANS AND ASSOCIATES
Beneficiary Bank:

                                        * **
Originator Info: FLORIDA IOTA TRUST ACCOUNTS
Originator Bank: BANK OF AMERICA/FLX
Originator Bank Info: REF PALM HOUSE HOTEL

Bank to Bank and all other FRB info fields:

CTP Information
Local Instrument Code:
 Cover Payment Information:




 Unstructured Remittance Data:
 Related Remittance Information:
                                                          1
Case 9:16-cv-81871-KAM Document 301-2 Entered on FLSD Docket 07/13/2018 Page 60 of
                                      68

Michele Andre
From:                  1stunitedbankwire@fundtech.com
Sent:                  Friday, September 06, 20139:12 AM
To:                    Michele Andre
Subject:               [Cust Inc Wire Advice - eMail] Message ID:13090608S1s6F104 Advice Code:INCSADEM

Follow Up Flag:        Follow up
Flag Status:           Flagged

From: 1st United Bank Wire Transfer Dept.

This funds transfer was received on 2013-09-06, for $33,140.49.
The funds have been CREnrrED,to account # **********l1li.

FRB Confirmation:                        2013090SMMQFMP9Seee0210ge60830FT03
Originating Routing Number:
Originating Bank Short Name:             FIRST REPUBLIC BK
Originating Reference Number:             13090514245366SC
Reference for Beneficiary:

Party to be Paid or Credited:
DDA Account Numbe"':         **********-
  Name and Address:
  LESLIE ROBERT EVEANS & ASSOC., P.A •
. IOTA MASTER CLIENT ESCROW ACCOUNT


Payment Originator Information:
Name and Address:
REVERE CAPITAL MANAGEMENT, LLC
20 KETCHUM STREET SUITE lee
WESTPORTJCT 06880-

Originating Institution Information:
Name and Address:




Originator Additional Information:

Bank to Bank. Information:


                                                   1:
Case 9:16-cv-81871-KAM Document 301-2 Entered on FLSD Docket 07/13/2018 Page 61 of
                                      68

Michele Andre
From:                  1stunitedbankwire@fundtech.com
Sent:                  Wednesday, October 23.20133:13 PM
To:                    Michele Andre
Subject:               rCust Out Wire Advice - eMail] Message ID:131023144859SM01 Advice Code:OTCSADEM


From: 1st United Bank Wire Transfer Dept.

In accordance with your instructions, we have DEBITED your account: **********_ for
$150,0013.130.

FRB Confirmation: 29131B23MMQFMP960BB1BS
Originating Routing Number:
Originating Bank Short Name:           1ST UNITED BANK
Originating Reference Number:    131B23144859SM91
Beneficiary Institution




             pa.id or ~redited
Party tOdb.e•.•
********'.
NEW HAVEN CONTRACTING SOUTH
1613 ROYAL PALM WAY
PALM BEACH FL 334Sa

Payment Originator Information
*********-
LESLIE ROBERT EVANS &ASSOC PA
IOTA TRUST ACCOUNT
214 BRAZILIAN AVE STE 2ea
PALM BEACH, FL 33480-4676
Additional Info:
Bank to Bank Info:
Our Wire Dept Phone number is 561 616-3180
Our direct Wire Fax number is 866 493-6323




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Case 9:16-cv-81871-KAM Document 301-2 Entered on FLSD Docket 07/13/2018 Page 62 of
                                      68
                                                          TRANSMISSIO~I                VERIFICATION REPORT

                                                                                                                                       TAIMMEE          10/23/2013 14:42
                                                                                                                                       N                LESLIE R EVANS ASSOC
                                                                                                                                       FAX              561-832-5722
                                                                                                                                       TEL              561-832-8288
                                                                                                                                       SER.N            BROF3J491593


                 DATE. TIME                                                                         11:1/2314:41
                 FAX NO./NA~IE                                                                      18664936323
                 DURATION                                                                           00:013:31
                 PAGE(S)                                                                            132
                 RESULT                                                                             OK
                 MODE                                                                               STANDARD
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   Fax to: 866-493·(1323                                                                                                                                    Phone: 561-616.3100




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                                                                     WIRE TRANSFER REQUEST

                 o       In PersoniWalk In                     Date:          /(J/rY3iJ..3         Amounl: S           15::>; em. -Currency: ...:U.;,.;.5;,;.'__
                                                     ORIGINATOR (yOUR INFORMATION)
    ORIGINATOR NAME:                     I.ESLIE ROBERT EVANS 80 ASSOCIATES. P.A.
    ADDRESS:              214 BRAZILIAN AveNUe. SUITE 200
    CITY. STATE S ZIP:                    PALM BEACH, FLORIDA33480

    ORIGINATOR'S ACCOUNT NUMBER:

                                                            BENEFICIARY (RECIPIENT'S INFORMATION)

     RECEIVING BANK NAME:                                         gl;[t':Wru ~8A#:_                                                                       _
     INTERMEDIARY BANK NAME(IBK): _ _ _ _ _ _ _ _ _ _ SWIFT/ACCT CODE: _ _ _ _ __
     INTERMEOIARYBANKADDRES$: _ _ _ _ _~--_--_-_ _- - - _ - - -

     BENEFICIARY BANK NAME(BBK):                                  ~.:n-ros l3.>41J/c..                                     SWIFT/ACeT CODE: _ _ _ __
     BENEFICIARY BANK ADDRESS:                                       5;25 Cfh,o.c ~ ~ Blvd J :;+-R, (00
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     BENEFICIARY'S ACCOUNT NUMB~:                                                             2 'nErT 51 7 '
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     AVAIU\IILE BAlANCE!                                                                                                               FEE: _ _ _ _ _ _ _ __
     AGReeMENT VERIFIED:                             YES I          NO
     CALlBACK OVERS10,OOO:                                                                                                         'TIME: _ _ _ _ _ _ _ __
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     OVER UMIT AUTHORIZATION:
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   . INPUT BY:                                                                                                              POST COMPLIANOe
     VERIFIED BY:                                                                                                           REVlEWBY:
Case 9:16-cv-81871-KAM Document 301-2 Entered on FLSD Docket 07/13/2018 Page 63 of
                                      68
    Fax to: 866-493-6323                                                                                                               Phone: 561-816·3100




                                                                WIRE TRANSFER REQUEST

             o         InPersonIWalk In                   Dale:         /{J/08/J..3     Amounl:·.$   1St>; 0:0. -                Currency:_U_.S_._ _

                                              ORIGINATOR (YOUR INFORMA TlON)
        ORIGINATOR NAME:           LESLIE ROBERT EVANS & ASSOCIATES, PA
        ADDRESS:. 214 BRAZILIAN AVENUE, SUITE 200
        CITY, STATE & ZIP:         PALM BEACH, FlORIDA 33460

        ORIGINATOR'S ACCOUNT NUMBER:

                                                     BENEFICIARY (RECIPIENT'S INFORMATION)

        RECEIVING BANK NAME:                                 ,RECdA>h5 BWkABA#.·_                       ;;::o;;;;;;z::::::ra::


        INTERMEDIARY BANK NAME(IBK): _ _ _ _ _ _ _ _ _ _ SWIFT/ACCT CODE: _ _ _ _ __
        INTERMEDIARY BANK ADDRESS: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


        BENEFICIARY BANK NAME(BBK):
        BENEFICIARY BANK ADDRESS:




        ADDITIONAL INFORMATION:



    I   AUTHORIZED SIGNATURE:

        AUTHORIZED SIGNATURE:
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                                                                             INTERNAL USE ONL Y
        WIRE ACCEPTED & VERIFIED BY:
                                                                                                                FEE: _ _ _ _ _ _ _ __
        AVAILABLE BALANCE:
        AGREEMENT VERIFIED:                   YES        I    NO
        CALLBACK OVER $10,000:    ":'::':'!:====:::--_________                                                TIME: _ _ _ _ _ _ _ __
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         OVER LIMIT AUTHORIZATION;
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        INPUT BY:                                                                                     POST COMPLIANCE
        VERIFIED BY~                                                                                  REVIEW BY:




    Revised 07/12
Case 9:16-cv-81871-KAM Document 301-2 Entered on FLSD Docket 07/13/2018 Page 64 of
                                      68




                                             NHCS
                                   160 ROYALPAI..M WAY PALM BEACH. FL33480

                                   PHONE: (561) 408.3500 FAX: (561) 408.3599




    Wire Instructions for Regions Bank



    Account Name:      New Haven Contracting South

    Account Number: • • • • •

     BankTransit Number:

     Bank Name and Address: Regions Bank
                            525 Okeechobee Blvd
                            Suite 100
                            West Palm Beach, Fl33401

     Please contact our account manager immediately, Thomas Self, at (561)837-8100 should your encounter any
     dlfficulti es.
Case 9:16-cv-81871-KAM Document 301-2 Entered on FLSD Docket 07/13/2018 Page 65 of
                                      68

JlidySlalus

From:                  bob matthews [rvmatt22@gmail.com]
Sent:                  Wednesday, October 23,201311:10 AM
To:                    Leslie Evans
Subject:               Fwd:
Attachments:           Regions Bank NHCS Wire Instructions.docx


Dear Les.
Please wire NHCS $150,000.00 today.
Sincerely,
Bob




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